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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

GARY BRICE MCBAY,
Plaintiff,
vs. Civil Action No. 1:07CV1205-LG-RHW

HARRISON COUNTY, MISSISSIPPI BY AND
THROUGH ITS BOARD OF SUPERVISORS;
HARRISON COUNTY SHERIFF GEORGE PAYNE;
WAYNE PAYNE; DIANE GATSON RILEY;

STEVE CAMPBELL; RICK GATSON; RYAN TEEL;
MORGAN THOMPSON, JOHN DOES 1-4,
AMERICAN CORRECTIONAL ASSOCIATION;
JAMES A. GONDLES, JR.; UNKNOWN DEFENDANTS
1-3 EMPLOYEES OF AMERICAN CORRECTIONAL
ASSOCIATION; HEALTH ASSURANCE LLC AND
UNKNOWN DEFENDANTS 1-2 EMPLOYEES OF
AMERICAN CORRECTIONAL ASSOCIATION,

Defendants.
/

AFFIDAVIT OF W. KEN KATSARIS

Before me, the undersigned authority, personally appeared W. Ken Katsaris, who
being duly sworn, states:

A. | am currently a certified Florida Law Enforcement Officer/Instructor and
consultant in both Law Enforcement and Corrections. | have instructed in a wide area of
law enforcement and corrections subjects at the Regional Police/Corrections Academies.
| also currently instruct in the nationally recognized AELE Police and Jail Liability Seminars
for attorneys and agency /jail/prison commanders.

My experience includes service as both a jail and police officer for the St.
Petersburg Florida Police Department, Police Officer with the Tallahassee Florida Police
Department, Trooper with the Florida Highway Patrol, the elected Constitutional Sheriff of
Leon County, Florida (Tallahassee), which included the management of the Leon County

EXHIBIT

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Jail. After leaving the office of Sheriff, | was appointed to the position of Assistant to the
Secretary of Corrections for the State of Florida Department of Corrections (DOC), with
liaison responsibilities to all 67 of Florida’s jails.

My academic instructional background includes ten (10) years as the Department
Chairman of the Criminal Justice Program at the Tallahassee Community College,
Tallahassee, Florida, where | taught both corrections and law enforcement courses. | also
served as Adjunct Professor in both Criminology and Social Work at the Florida State
University (Tallahassee, Florida).

| am a certified use of force instructor and have taught throughout the nation
consistently for over 15 years. | instruct on the use of force standards and procedures
for handling jail and prison inmates. | have been retained as a consultant by jails of all
sizes, including the largest jail in the country, the Los Angeles County Jail. As a litigation
consultant | have been retained by both the plaintiff and defendant and have testified on
use of force issues in both state and federal courts.

During the tenure of two Florida Governors, | was appointed to the position of
Commissioner of the Florida Corrections Standards and Training Council where |
participated in setting policy and standards for all corrections agencies and officers in
Florida. Additionally, | have served as a consultant to the Florida Criminal Justice
Standards and Training Commission in the development of a model basic training
program for all jail and prison officers in Florida.

B. To prepare for rendering opinions, | have reviewed and largely relied upon
the following materials as the basis of my opinions:

1. Complaint

2. Answer, Defenses and Affirmative Defenses of Defendant Steve
Campbell

3. Answer, Defenses and Affirmative Defenses of Defendant Dianne
Gatson-Riley

4, Answer, Defenses and Affirmative Defenses of Defendant Sheriff

George Payne, Jr.

5. Answer, Defenses and Affirmative Defenses of Defendant Wayne
Payne

6. Pre-Discovery Disclosure of Core Information by Defendants

7. Video Surveillance (Booking Room)
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8. Inmate Handbook

C. The below listed opinions were formulated based on my experience, training
and education in the corrections field, the standard of care recognized by Corrections
Organizations and Officials throughout the U.S. as the custom and practice for the
administration, management and supervision of corrections agencies and personnel. The
opinions are based on my knowledge of the training of Corrections Officers throughout
the U.S. in addition to my knowledge of the written standards and materials generally
available for training and guiding Corrections Officers in their every day assignments.

D. Pursuant to engagement by attorneys for the Defense in the above named
case, | conducted an exhaustive review of all of the above materials. As a result of the
review of these materials, which | relied upon as the basis for my opinions, | render the
below opinions:

1. Nothing in the above reviewed materials, other than the Complaint,
would indicate any force used by the Harrison County Corrections
Officers resulted in injuries to Mr. Gary Brice McBay. | cannot at this
time, with the above materials, find that officers used excessive,
unreasonable or punitive force against Mr. McBay. The discovery
materials are limited at this time and the booking/cell videos do not
reveal any activity that could be characterized as excessive force.

2. The policies and training of the Harrison County Sheriff's Office Jail
were reasonable and comport with the nationally recognized
standards of care.

3. 1 am unable to render an opinion on the issues of the county having
a “history” or having recognized a “custom and practice" of excessive
force. Such claims can only be supported by an intense review of
the actual incidents and the files, forms, investigations, and videos
that were made contemporaneously with each of the uses of force
over a specified period of time. No other information, testimony or
evaluations would be appropriate to render such an opinion. To date
| have not been provided the comprehensive compilation of
contemporaneous reports forms, videos, or investigations for each
incident of force for any period of time to allow for a legitimate
opinion about the issue of any established or condoned practices
that violate established policies for inmate control, movement or
processing.

E. If further discovery materials are provided, they will be thoroughly reviewed,
and may have an impact on the above opinions. If this should occur, these revised/new

3
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opinions will be immediately revealed to the retaining party. | reserve the right to
supplement and amend my opinions based upon additional information provided to me.

F. As an attachment | incorporate Exhibit "A", a complete curriculum vitae
which cites a complete 36 year history | have as a member, instructor and consultant in
the Criminal Justice field and a list of cases in which | have testified as an expert at trial
or by deposition within the preceding four years. To date | have been paid $6,000.00.

Respectfully submitted this _ tst__ day of December, 2008.

W. Ken Katsaris

STATE OF FLORIDA
COUNTY OF LEON

Sworn and subscribed to this / a day of December, 2008, by W. Ken Katsaris, who is
personally known to me.

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Sara S. Alligood, Notary Public

My Commission Expires:

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1 SARA'S. ALLIQOOO
Phe a) MY COMMISSION # DD 417586

PIRES: dune 16, 2008
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EX
Bonded

Case 1:07-cv-01205-LG-RHW Document 300-8 Filed 11/13/09 Page5of 45
W. KEN KATSARIS

Law Enforcement, Corrections and Private Security

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TRIALS

dames Kemp and Patricia Kemp v. Volusia
County, et al., in the Circuit Court, 7th Judicial
Circuit, In and For Volusia County, Florida
Benton N. Wood, Attorney
(407) 843-1400

Tramazzo v. City of Portland, United States

District Court for the District of Oregon
Robert S. Wagner, Portland, OR
(503) 222-4499

Matthew W. Kemp v. Richard T. Lynch, et al.,
State of New York, Supreme Court, County of
Oneida

John E. Short, Utica, NY

(315) 797-8300

Collins Igberaese v. George L. Smith, Georgia
World Congress Center Authority, et al., United
States District Court for the Northern District of
Georgia, Atlanta Division

George Weaver, Atlanta, GA

(404) 351-0003

Vickie Williams v. Florida Highway Patrol
in the Circuit Court of the Thirteenth Judicial
Circuit, in and for Hillsborough County, State of
Florida, East Division

George E. Nader, Attorney

(813) 223-7474

Pecse Vv. State of California, et al.

Armador County Superior Court
Pamela Price, Attorney
(510) 452-0292

Jinks v. McCauley

South Carolina
James Griffin, Attorney
(803) 779-4600

Barton v. City of Portland, et al., United States
District Court for the District of Oregon
Robert S. Wagner, Attorney
(503) 222-4499

Craig A. Burdine v. Patrolman Bruce M.
Szialagyi, et al., United States district Court,
Northern District of Ohio, Western Division
Thomas Sobecki, Attorney
(419) 242-9908

Fleming Ralk v. Lincoln County Georgia, et al.
United States District Court, Southern District
of Georgia, Augusta Division

David Pernini, Attorney

(770) 951-6570

Jones v. City of Broken Arrow United States
District Court, Northern District of Oklahoma
Kent Spence, Attorney
(307) 733-7290

- Chandra Kibbee v. City of Portland and Thomas

Newberry, United States District Court, District
of Oregon

Mark R. Moline, Attorney

(503) 823-4047

Lonnie David McBride v. Ron Barker, Forsyth
County Sheriff's Department,et al., United States
District Court, Middle District of North Carolina,
Winston-Salem Division 1:99CVO0060

Allan R. Gitter, Winston-Salem, NC

(336) 721-3600

Scott Beam v. Michael Minervini, United States
District Court, Middle District of Florida, Ft.
Myers

Robert M. Stoler, Tampa, FL

(813) 228-7411

Timothy Kulik and Theresa Kulik v. David Riley,
Patricia Riley and the Florida Department of
Highway Safety and Motor Vehicles, In the
Circuit Court of the Third Judicial Circuit in and
for Columbia County, Florida
Al Bowden, Attorney General’s Office,
Tallahassee, FL (850} 414-3300
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Cases Testified
Page 2

Clifford Davis et al v. Charles Witt, Circle B
Trucking Company et al., 16th Judicial District,
Parish of St. Martin, State of Louisiana
Charles V. Musso, Jr., Attorney
(318) 436-0522

Marion Harris v. The City of Shreveport, et al,
United States District Court, Western District of
Louisiana, Shreveport Division

Edwin H. Byrd, tll, Attorney

(318) 221-1800

Valerie Collins and Timothy Wilson, Sr. v. Blue
Valley Court, L-P., In the Circuit Court of
Jackson County, Missouri, at Kansas City
Dale Close, Attorney
(816) 234-5056

Noel R. Giles v. Gourmet Systems, Inc., et al:, In
the United States District Court for the Western
District af Missouri, Case No. 99-951-CV-W-9
Dale Close, Attorney
(816) 234-5056

Rebecca & Larulston Lamay v. Town of
Bloomfield, State of Connecticut, Superior
Court, Judicial District of Hartford /New Britain
at Hartford, Case # CV94-0545169

Scott Karston, Attorney

(860) 233-8251

Ann Marie Speaker vs. San Bernardino County,
United States District Court, Central District of
California No. ED CV 94-141-RD

E. Thomas Barham, Attorney

(562) 598-2456

Jean Occidor v. Deval Automotive, Inc., d/b/a
Top Hat Car Wash, In the Circuit Court of the
Fifteenth Judicial Circuit in and for Palm Beach
County, Florida

John A. Shipiey, Attorney

(561) 666-6300

Theadore Neison Laroque, Ili vs. Anthony Goree
and the City of Detroit, Civil Action No. 98-833-
427-NO, In the Circuit Court for the County of
Wayne, State of Michigan

Ven R. Johnson, Attorney

(248) 355-5555

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Donna Forrester v. City of Mesa, In the Superior
Court of the State of Arizona in and for the
County of Maricopa

Kathleen L. Wieneke, Attorney

(602) 263-1771

Josephine Scott Brown, vs. The City of
Shreveport through Shreveport Parks and
Recreation, In the First Jucicial District Court In
and For the Parish of Caddo, State of Louisiana
Ciaude W. Bookter, Jr. Attorney
(318) 221-3444

Eric Walter v. City of Shreveport, et al., United
States District Court, Western District of
Louisiana, Shreveport Division

Pamela G. Nathan, Attorney

(318) 221-6858

Estate of Christopher Moreland v. Joseph
Speybroek, former Sheriff of St. Joseph County,
Indiana, !n the U.S. District Court, Northern
District of Indiana, South Bend Division
Jeremiah J. Kenney, Attorney
(248) 355-5555

Curt A. McGloughan v. City of Springfield, et al.,
In the United States District Court, Central
Division of Illinois, Springfield Division, Case No.
99-3104

Richard L. Steagall, Attorney

(309) 674-6085

Ronald Keeler v. Correctional Physician
Services, Inc., and New Horizons of the
Treasure Coast, In the Circuit Court of the
Nineteenth Judicial Circuit In and For Martin
County, State of Florida, Case No. 00-603 CA
Susan P. Sistare, Attorney
(954) 522-2320

Anthony D. Delk, and Brenda Delk, vs. City of
Liberty Kentucky, et al., Commonwealth of
Kentucky, 29th Judicial Circuit, Casey Circuit
Court, Civil Action No. 99-Cl-00072

Julie A. Butcher, Attorney

(859) 268-4300
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Cases Testified
Page 3

Earnest Lee Prater, Sr. and Brenda Kay Prater,

v. Johnny M. Evans, Jr., et al, No. 62,244A and

Althea Wellman, v. Johnny M. Evans, Jr., et al.,

No. 62,247B, 30th Judicial District Court, Parish

of Vernon, State of Louisiana, No. 62,247B
Michael H. Schwartzberg, Attorney
(337} 433-1621

Termination Hearing, Washington State Patrol
Hearing, Ken DePretto v. Washington State
Patrol

Elizabeth Brown

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(360) 664-7174

Stephen Rosario vs. City of Union City Police
Department, et al., United States District Court,
District of New Jersey

Geoffrey N. Fieger, Attorney

(248) 355-5555

Freitag v. California Department of Corrections,
United States District Court, Northern District of
California

Pamela Y. Price, Attorney

(510) 452-0292

Pearl Lewis vs. St. John Hospital, Case No. 01-
123121-NI, State of Michigan, in the Circuit
Court for the County of Wayne

Robert M. Giroux, Jr., Attorney

(248) 355-5555

John Morales v. Sean Moore, and the City of
Milford, et al., Case #CV-XX-XXXXXXX-S, State of
Connecticut: Superior Court, Judicial District of
Fairfield at Bridgeport

Elliott B. Spector, Attorney

(860) 233-8251

Allen Harvey and Lola Harvey v. John C. Parker,

of the Rutherford County Sheriff's Department,
et al., In the United States District Court for the
Western District of North Carolina

Scott B. MacLatchie, Attorney

(704) 331-4900

Ali, et al., vs. City or Tacoma, et af., Case No.
C01-5138-RJB, United States District Court,
Tacoma Washington

Shelley Kerslake, Assistant City Attorney

City of Tacoma

747 Market Street, Room 1120

Tacoma, WA 98402-3767

(253) 591-5885

Stacy Cunningham vs. James Riley, Sr.,
Mecklenburg County Deputy Sheriff, et al., In
the General Court of Justice, Superior Court
Div., File 00-CVS-17059, State of North Carolina,
County of Mecklenburg

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Moreland v. Moffa , Indiana Federal District
Court

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Carol A. Marshall v. The City of Portland, et al.,
in the United States District Court, District of
Oregon, No. CV-01-1014 ST

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1221 $.W. 4th Avenue

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(503) 823-4047

Mark Reynolds v. Allegheny County Sheriff's
Department, In the General Court of Justice,
Superior Court Division, File No, 99 CvS 712,
State of North Carolina, County of Wilkes
'  Tyrus V. Dahl
Womble, Carlyle, Sandridge & Rice
Post Office Box 84
Winston Salem, NC 27102
(336) 721-3600
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Cases Testified
Page 4

Ginger Mcintosh v. Wayne F. McElveen, In the
14th Judicial District Court, Parish of Calcasieu,
State of Louisiana

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Ophelia Davis, et al. v. City of Shreveport, et al.,
First Judicial District Court, Caddo Parish,
Louisiana, Number 451,926

Edwin H. Byrd, Ill

Pettiette, Armand, Dunkelman, Woodley,

Byrd & Cromwell, LLP

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Rick Stephen Berkich vs. County of Maricopa,
et al., in the Superior Court of the State of
Arizona, In and for the County of Maricopa,
Case No. CV2000-015368

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(602) 240-6670

Carl Robinson, Jr. and Cynthia Robinson v. The
Neiman Marcus Group, Inc., and Nicholas Grey,
in the Circuit Court of the 17th Judicial Circuit in
and for Broward County, Florida, Case No. 98-
009719(25)

Todd McPharlin

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In the County Court of the Thirteenth Judicial
Circuit, In and For Hillsborough County, State of
Florida, The State of Florida v. Troy P. Wydra

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In the Circuit Court of the 11th Judicial Circuit in
and for Dade County, Florida, Case No. 01-
15504 CA 23, Brenda M. Gallo vs. Publix Super
Markets, inc. and Hercules Distributing
Company

Jeffrey A. Mowers

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14750 N.W. 77th Court, Suite 300

Miami Lakes, Fl 33016

(305) 512-3737

State of Connecticut, Superior Court, Sonia
Ried, et al. vs. Roberto Maldonado, et al., Case
No. CV02-0816672S ,

Vincent J. Trantolo

Trantolo & Trantolo

50 Russ Street

Hartford, CT 06106

(860) 522-9248

In the Court of Common Pleas, Cuyahoga
County, Ohio, Dorothy Wilis Campbell,
Administratrix of the Estate of Guy Allen Wills
vs. Dillards, inc., and Jameel Talley and Meridia
Health System, and South Pointe Hospital, et al.

Ven Johnson

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19390 West Ten Mile Road

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(248) 355-5555

in the Circuit Court of the Third Circuit, State of
Hawaii, Civil No. 02-1-0306
Eleanor Quiocho vs. County of Hawaii, et al.

Harry P. Frietas

Deputy Corporation Counsel

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101 Aupuni Street, Suite 325

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- (808) 961-8251

Superior Court of California, County of Santa
Clara, Case No. 1-02-CV808658
Kim Smith vs. City of San Jose, et al.

James Armstrong

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Oakland, CA 94612

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Case 1:07-cv-01205-LG-RHW Document 300-8

Cases Testified
Page 5

in the United States District Court for the District
of Oregon, Case No. CV No. 03-1371-AA
The Estate of Kendra Sarie James vs. Scott
McCollister, Rick Bean, Ken Reynolds, Mark
Kroeker, and the City of Portland, a Municipal
Corporation, and other John Does

Robert S. Wagner, Miller & Wagner, LLP

2210 N.W. Flanders Street

Portland, OR 97210-3408

(503) 299-6116

United States District Court, Middle District of
Florida, Jacksonville Division, Case No. 3:03-CV-
1030-J-20TEM
Robert Ferryman, Personal Representative of
the Estate of Curt E. Ferryman vs. United States
of America

Dexter A. Lee, Asistant U.S. Attorney

Southern District of Florida

99 N.E. Fourth Street

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United States District Court, Middle District of
Florida, Fort Myers Division, Case No. 2:03-CV-
465-FtM-29 DNF
Mark Steven Fitch and Patricia Fitch, as
Personal Representatives of the Estate of Mark
Steven Fitch, Jr., deceased, vs. Sheriff Rodney
Shoap, as the Sheriff in and for Lee County,
Florida

Richard A. Giuffreda

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Grievance Arbitration Hearing, Portland Oregon
Scott McCollister, City of Portland Police
Department, Portland, Oregon

Will Aitchison

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In the Circuit Court of the City of Richmond,
Case No. LF-330-4, Leslie L. Green,
Administrator of the Estate of Christie D. Green
v. John B. Buckovich and George Ingram

Charles H. Cuthbert, Jr.

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In the United States District Court, District of
Arizona, No. CIV-02-1686-PHX-JAT
Carol Ann Agster, Personal Representative of
the Estate of Charles J. Agster, Ill, vs. Maricopa
County, et al.

Brian Kaven

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In the United States District Court for the
Western District of Pennsylvania, Civil Action
No. 05-0014
Kermith Sonnier, as Personal Representative of
the Estate of Kermith Sonnier, Jr., deceased vs.
Officer Dennis Field, Officer Autumn Fike,
Officer Josh Mrosko, Officer Mark Costello, in
their Individual Capacities

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in the United States District Court for the District
of Arizona, Case No. CV-03-2146-PHX-DGC
John Carboun and Karen Carboun, husband
and wife vs. The City of Chandler, a body
politic; Bobby Joe Harris, a former police chief
of the City of Chandler Police Department, and
Jane Doe Harris, husband and wife; Pat
McDermott, Assistant City Manager of the City
of Chandler, and Jane Doe McDermott,
husband and wife

Katherine E. Baker

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Cases Testified
Page 6

In the Superior Court of the State of Arizona, In
and For the County of Mohave, Case No. CV-
2003-0011
Ryan Thomas Meehan, et al. vs. Lake Havasu
City, Arizona, et al.

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Page 10 of 45
Case 1:07-cv-01205-LG-RHW Document 300-8 Filed 11/13/09 Page 11 of 45
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DEPOSITIONS

Eric Schueler v. David Pond v. City of Chicago,
State of Illinois, County of Cook, in the Circuit
Court of Cook County

Don Zoufal, Chicago, IL

(312) 744-8794

Kemp v. Volusia County, 7th Judicial Circuit,
Florida
Benton Wood, Orlando, Florida
(407) 843-1400

Pamela Jones, Personal Representative of the
Estate of Zachary W. Nobile v. City of Broken
Arrow, Oklahoma
Kent Spence, Jackson, Wyoming
(307) 733-7290

Linda Joyner, administratrix of the estate of
Shaqita Nicole Joyner v. Anthony Jenkins and
the City of Wilson, et al.
Randy Gregory, Fayetteville, NC
(910) 433-2222

Clifford Davis et al. v. Charles Witt, et al., 16th
Judicial District, Parish of St. Martin, State of
Louisiana
Charles V. Musso, Jr., Lake Charles, LA
(318) 436-0522

Stanton v. City of Royal Oak, et al., State of
Michigan, Circuit Court for the County of
Oakland
Paul L. Kaliszewski, Southfield, Ml
(248) 213-3800

Ronald J. Cruz et al. v. City of Laramie, et al.
United States District Court for the District of
Wyoming
Karen A. Byrne, Cheyenne, WY
(307) 637-8014

Craig A. Burdine v. Patrolman Bruce M.
Szialagyi, et al, In the United States District
Court, Northern District of Ohio, Western
Division
Thomas Sobecki, Toledo, OH
(419) 242-9908

Lee/Ramsey v. Metropolitan Dade County
United States District Court, District of Florida
dames J. Allen, Miami, FL
(305) 375-5868

Paulina Valerio, v. City of Phoenix, et al., In the
Superior Court of the State of Arizona in and for
the County of Maricopa

Kathleen Wieneke, Phoenix, AZ

(602) 263-1771

The Ages Group, L.P., v. Raytheon Aircraft
Company, Inc., Raytheon Aerospace Company,
Inc., The Wackenhut Corporation, In the United
States District Court for the Middle District of
Alabama, Southern Division
John R. Marks, III, Tallahassee, FL
(850) 222-3766

Larry J. Edwards, et ux vs. Duane Allen Dalton,
etal. 14th Judicial District Court, Parish of
Calcasieu, State of Louisiana
Mr. Payton R. Covington, Lake Charles,
LA, (318) 439-5777

Collins igberaese v. George L. Smith, Georgia
World Congress Center Authority, et al., United
States District Court for the Northern District of
Georgia, Atlanta Division

George Weaver, Atlanta, GA

(404) 351-0003

Virginia Hunter, on behalf of Aaron Miles v.
Calcasieu Parish Gravity Drainage, et al., 14th
Judicial District Court, Parish of Calcasieu, State
of Louisiana

Jimmy Simien, Lake Charles, LA

(318) 439-3939

Supattra Waiyachote v. Ernest Earl Lockett,
Emina Smith, dba GS Auto Sales, City of
Chicago, et al., In the Circuit Court of Cook
County, Illinois

Melvin Brooks, Chicago, IL

(312) 744-7150
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Depositions
Page 2

Carlitos Brooks v. Joel B. Harrison, Pat G.
Minetti and the City of Hampton, United States
District Court for the Eastern District of Virginia
Deborah C. Waters, Norfolk, VA
(757) 622-5000

Wu v. City of Rohnert Park, et al., United States
District Court, California
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Lonnie David McBride v. Ron Barker, Forsyth
County Sheriff's Department, Charles T. Goforth
and Jimmy L. Burton; United States District
Court, Middle District of North Caralina,
Winston-Salem Division 1:99CVO0060
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Daryl Barnes v. Baskins
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James Powers, et al. v. Richard Mahan, Roy
Wilbur, et al., United States District Court,
Central District of illinois, Springfield Division
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Beinap v. City of Allen Park, Wayne County
Circuit Court

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Rhonda J. Taft, v. Bay County Sheriff's
Department, et al., United States District Court
for the. Eastern District of Michigan, Northern
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Estate of Michael McLeod, et al. v. Sheriff John
Stone, et al., United States District Court for the
District of Colorado

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Marvin Garner et al v. FON-ROY Investors, Inc.,
d/b/a Canterbury Apartments, In the Marion
County Superior Court, Civil Division

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Byron Owens v. Broward Sheriff's Office et al.,
In the Circuit Court of the 17th Judicial Circuit in
and for Broward County, Florida

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Woodall v. Ridgway, et al., United States District
Court for the Central District of Illinois

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Estate of Tyrone Napoleon Salters v. Greenville
County Sheriff's Department, United States
District Court, District of South Carolina,
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Harold Guidry v. Kenneth Kline, 14th Judicial
District Court, Parish of Calcasieu, State of
Louisiana

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Vaughn v. City of Seaside, California
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Pamela Garrett, individually, et al., vs. Athens-
Clarke County, Georgia, et al., In the United
States District Court for the Middle District of
Georgia, Athens Division

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Carmichell Bell v. Clackamas County, et al.,
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Oregon

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Nora Aytes, et al. v. Haines City Police
Department, In the Circuit Court of the Tenth
Judicial Circuit of Florida, in and for Polk
County
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Ber T. Kue v. City of Detroit, United States
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Southern Division

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McDougald v. City of Winder, In the Superior
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Laroque vs. Anthony Goree and City of Detroit,
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County of Wayne

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Williams v. Mark Bullard and Metropolitan Dade
County, United States District Court, Southern
District of Florida, Miami Division, Case No. 00-
1678 CIV

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John Claxton et al. v. State of Arizona,
Department of Public Safety, et al., Arizona
Superior Court, Maricopa County

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David and Jackie Archenbron v. Surprise, In the
Superior Court of the State of Arizona, In and
For the County of Maricopa

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Cynthia Nanton v. Johnny Mack Brown as
Sheriff of Greenville County, et al., United States
District Court for the District of South Carolina,
Greenville Division

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McCloughan v. City of Springfield, United States
District Court, C.D., Ill, Springfield Division,
Case No. 99-3104

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Frank del Toro and his wife, et al., v. Miami-
Dade County, et al., In the Circuit Court of the
11th Judicial Circuit in and for Miami-Dade
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Northern Division

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Blum, et al. vs. City of Tampa, In the Circuit
Court, Thirteenth Judicial Circuit, State of
Florida, Hillsborough County
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Estate of Christopher A. Moreland, deceased, et
al., v. Joseph E. Speybroeck, et ai., In the
United States District Court, Northern District of
Indiana, South Bend Division

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Brenda Sweet Graham v. City of Ocala, In the
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Green v. Buckovich and Ingram, Case LF-330-4,
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Price v. Black Hawk County Jail, In the United
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lowa, Cedar Rapids Division, Civil No. Coo-
2008-EJM .

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Maria Elizabeth Pantano Bello v. Adrian Art
Deco Riviera Hotels and Restaurants, Inc., etc.,
In the Circuit Court of the 11th Judicial Circuit in
and for Miami/Dade County, General
Jurisdiction Division, Case No. 01-06508 CA 15
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Southern Division

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Whitesitt et al. v. Protection Plus, Inc.,
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Indianapolis Airport Ramada Inn Hotel, et al., In
the Marion County Superior Court, State of
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Ronald Keeler vs. Correctional Physician
Services , Inc., and New Horizons of the
Treasure Coast, In the Circuit Court of the
Nineteenth Judicial Circuit In and For Martin
County, State of Florida, Case No. 00-603 CA
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Saleh v. Officer Sanchez, Officer Trevino, San
Antonio and San Antonio Police Department, In
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of Texas, San Antonio Division, Civil Action No.
SA-00-CA-1206-HG

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Jardine, vs. City of Tempe, In the Superior
Court of the State of Arizona, in and for the
County of Maricopa, CV 99-20660

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Pearl Lewis vs. St. John Hospital, State of
Michigan, In the Circuit Court for the County of
Wayne, Case No. 01-123121-NI

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and Associates Security Services, {nc., State of
Michigan, In the Circuit Court for the County of
Oakland, Case No. XX-XXXXXXX-NI

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Pobish v. Lucas County, United States District
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Freitag v. California Department of Corrections,
United States District Court, Northern District of
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Delk vs. City of Liberty Kentucky, et al.,
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Cl-00072

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May Finley vs. The May Department Stores
Company, d/b/a Lord & Taylor, Case No. 00-
020924-NI State of Michigan, In the Circuit
Court far the County of Wayne

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Knight v. Central Parking Systems, Inc.
State of Indiana, County of Marion,
in the Marion County Court, Case
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Prater v. Johnny M. Evans, et al., No. 62,2444
and Well v. Evans, et al., No. 62,247B
30th Judicial District Court, Parish of Vernon,
State of Louisiana
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Stuehser, et al. vs. Mohave County
In the Superior Court of the State of Arizona,
Maricopa County

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Venerable, et al. v. City of Sacramento, United
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California, Case No. CIV S-01-473 DFL JFM, and
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Spindel vs. New Boca Jewelry Exchange, Inc.,
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Hardy vs. Rite Aid and AARMCO Security, Case
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Thomas v. Waterford Township, et al., Case No.
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for the Eastern District of Michigan, Southern
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Wallace v. City of Gahanna, Franklin County
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CVD 06 5733

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Yellowhair vs. City of Tempe, et al., United
States District Court, District of Arizona, No.
CIVO0-03474-PHX-SMM
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McIntosh, et al., vs. McElveen, et al., 14th
Judicial District Court, Parish of Calcasieu, State
of Louisiana

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Vinson vs. United States, In the United States
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Western Division, Case No. 01-2737 D BRE
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Gregory vs. Louisville; United States District
Court, Western District of Kentucky at Louisville,
Case No. 3:01-CV-535-R

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Cunningham vs. Riley, Mecklenburg County, et
al., In the General Court of Justice, Superior
Court Div., File 00-CVS-17059, State of North
Carolina, County of Mecklenburg

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Reynolds v. Alleghany County Sheriff's
Department, In the General Court of Justice,
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State of North Carolina, County of Wilkes

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Reasonover and Bufford v. The County of St.
Louis, MO, et al., Cause No. 4:01CV01210CEu,
in the United States District Court, Eastern
District of Missourl, Eastern Division

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Smith vs. Lansing Police Officer Walter M. Kim,
et al., United States District Court, Western
District of Michigan, Southern Division, Case
§:01-CV-103

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Sandra Avosevatm v. Tallahassee Mall Partners,
LTD, et al., In the Circuit Court of Leon County,
Florida, Second Judicial Circuit, Case No. Cv-
01-2369

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Thompson vs. City of Chicago, In the United
States District Court for the Northern District of
’ Illinois, Eastern Division, Case No. 01-C-8883
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Davis vs. City of Gainesville, at al., Case No.
1:03CV87MMP, United States District Court,
Northern District of Florida, Gainesville Division

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Jackson v. Rite-Aid of Michigan, Inc., et al.,
State of Michigan, In the Circuit Court for the
County of Wayne, 01-111796-NI
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Smith v. W&L Motor Lines, Inc.; City of
Frankfort, et al., Commonwealth of Kentucky,
Franklin Circuit Court, Division |, Civil Action
No. 01-Cl-00118

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Robinson v. The Neiman Marcus Group, Inc.,
No. 98-009719(25), In the Circuit Court of the
17th Judicial Circuit in and for Broward County,
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Steve Alired v. City of Mascotte Police
Department, City of Groveland Police
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Sarah Wertheim vs. Pima County, Tucson Police
Department and the City of Tucson, !In the
Superior Court of the State of Arizona, In and
For the County of Pima

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Sean Miller vs. Carlton Arms of Lakeland, In the
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State of Florida, in and for Pinellas County, Civil
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Fitzpatrick vs. Coldiron Specialized Driveaway,
Inc., d/b/a Quick Silver Towing; Case No. 02-
06068, In the Circuit Court of the Thirteenth
Judicial Circult of the State of Florida, in and for
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Jane Doe vs. Louis Sacce individually and in his
official capacity, and Miami-Dade County
In the Circuit Court of the 11th Judicial Circuit,
In and For Miami-Dade County, Florida, Case
No. 00-00391-CA-04

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Artie Rodriguez, individually and for the use and
benefit of the Walton County Board of County
Commissioners vs. John C. Penland, In the
Circuit Court in and for Walton County, Florida,
Case No. 03-DA 841-9-636704

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Susan K. Chatman et al. vs. Washtenaw County,
et al., United States District Court for the
Eastern District of Michigan, Southern Division,
Case No. 02-71648

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Therese Lore vs. City of Syracuse Police
Department, et al., Civ. Action No. 5:00-CV-
1833, In the United States District Court for the
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In the Circuit Court of the Sixth Judicial Circuit,
Pinellas County, Florida, Civil Division Case No.
02-1602-Cl-15, Jane Doe v. Peppertree Lake
Condominium Association, Inc., and Rampart
Properties, inc.

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United States District Court, Eastern District of
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In the Circuit Court of the 11th Judicial Circuit in
and for Dade County, Florida, Case No. 01-
15504 CA 23, Brenda M. Gallo vs. Publix Super
Markets, Inc. and Hercules Distributing
Company

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In the Circuit Court of the Second Judicial
Circuit, In and For Leon County, Florida, Case
#03-CA-793, Tara D. Hewitt and Craig B. Hewitt
vs. Avis Rent-A-Car, Inc.

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In the United States District Court, Northern
District of Ohio, Eastern Division, Case No.
1:03CV0595, Peggy Sigley, Administratrix of the
Estate of Daniel P. Davis, Deceased, vs. City of
Parma Heights, et al.

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in the United States District Court, Eastern
District of Michigan, Southern Division, Case
No. 03-70223, Charlene Bobb, Personal
Representative of the Estate of Darrell Dante
Bobb, deceased, vs. City of Inkster, et al.
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State of Michigan, In the Circuit Court for the
County of Wayne, Case No. 02-206841-NI
Regona Montgomery, Personal Representative
of the Estate of Charles Mancill, Deceased, v.
imani Residential Services, Inc., a Michigan
corporation, Josephine House, Nicole Groulx,
Cary Ferrara and KMart Corporation, a Michigan
corporation, Zelma Brown, Jerome Townsend,
Twan Graham and Wayne Center, a Michigan
corporation

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Eleanor Quiocho vs. County of Hawaii, Civil No.
02-01-306

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In the District Court of Lincoln County,
Nebraska, Denise Wagner, on behalf of the
estate of Mark Wagner, deceased, vs. PPCT
Management Systems, Inc., et al.

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McKinney v. Ball University, et al.
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Andrea Chaleen Poicyn vs. J.T. Martin, Brian
Tollison, et al.
United States District Court, District of Greenville
Division
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Kaznowski v. City of Phoenix, et al., Maricopa
County Cause No. CV2003-008496

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Estate of Gary C. Tyson vs. City of West Haven
United States District Court for the District of
Connecticut, Civil Action No. 3:04CV860

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Kim Smith vs. City of San Jose, et al.
in the Superior Court of the State of California,
In and for the County of Santa Clara, Case No.
CV808658
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Jose Soto and Mary Soto vs. Prison Health
Services, Inc., EMSA Correctional Care, Inc., et
al. In the Circuit Court of the Tenth Judicial

Circuit in and for Polk County, Florida, Case No. —

02-CA-3153
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In the Circuit Court of the 11th Judicial Circuit in
and for Miami-Dade County, Florida, Case No.
04-04344 CA 10
Robin Ellinport, as Guardian of Scott Ellinport,
Ward; Robin Ellinport, individually and as natural
parent of Melissa Ellinport and Max Ellinport,
minor children, vs. Kazi Food of Florida, Inc.,
d/b/a KFC

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United States District Court, Western District of
Michigan, Southern Division, Case No. 4:04 CV
0032
The Estate of David Alan Speers, M.D.,
Deceased, vs. County of Berrien, et al.

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Robert G. Isetts vs. Borough of Roseland,
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al., Docket No. ESX-L-2480-02
Superior Court of New Jersey, Law Division,
Essex County

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Johnny Coerly v. Town of Franklinton, Civil
Action No. 03-1507
United States District Court, Eastern District of
Louisiana, Section K

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Maryland, Civil Action No, CALO1-17636
Corey Beale vs. Prince George's County, et al.
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In the Circuit Court of the Nineteenth Judicial
Circuit of Florida, in and for Martin County,
Florida, Civil Division, Case No. 04-781-CA
Glenn Tuhey vs. Robert Crowder, as Sheriff of
Martin County, Florida, et al.

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In the United States District Court for the Middle
District of North Carolina, Civil Action No.
1:04CV00652
Jeanetie Rene Abney et al vs. Deputy Joel
Rodney Coe, et al.

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In the Circuit Court for the County of Oakland,
State of Michigan, Case No. 04-062242-NO
Tom Briggs, Personal Representative for the
Estate of Thomas E. Briggs, deceased, vs.
Oakland County Supervisor DeVitta, Sgt. Clark,
Deputy Szydiowski, Deputy Hubble, Deputy
Rhyndress, Deputy Jones, Deputy Vasquez,
Sandy Stetz, R.N., Debbie [pton, R.N., Connie
Zamora, R.N., jointly and severally

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In the Superior Court few the State of Arizona,
in and for the County of Mohave
Ryan Thomas Meehan, an incapacitated adult;
Thomas M. Meehan and Caren R. Meehan,
husband and wife, individually and as parents
and natural guardians of Ryan Thomas Meehan
vs. Lake Havasu City, Arizona, a municipal
corporation, Leo Grillas and Stephanie Grillas, et
al., Case No. CV2003-0011

William G. Fairbourn

Bonnett, Fairbourn, Friedman

& Balint, PC

2901 N. Central Avenue, Suite 1000

Phoenix, AZ 85012

(602) 274-1100

In the United States District Court, District of
Minnesota, Case No. 03-CV-5306PAMRLE
Yen Thao, Peter Yang, and Michelle Yang, et al.
vs. City of St. Paul, et al.

James F.X. Jerskey

Assistant City Attorney

City of Saint Paul, Litigation Section

550 City Hall

15 West Kellogg Boulevard

Saint Paul, MN55162

(651) 266-8770

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in the United States District Court, Central
District of Illinois, Urbana Division, Case No. 04-
CV-2048
Lucille Butler, Individually, and as Special
Administrator of the Estate of Kevin Lucas,
Deceased, vs. Vermillion County Sheriff,
Kenneth O’Brien, et al.

Dennis DeCaro

Kupets & DeCaro

30 N. Lasalle Street, Suite 4020

Chicago, IL 60602

(312) 372-4444

United States District Court, Eastern District of
Michigan, Southern Division, Case No. 03-
327778NH
Stephanie Williams, Individually, and as Next
Friend of Terrance Williams, Jr., a Minor, and
Terrance Williams, Individually vs. City of Grosse
point Park, a municipal corporation, and Officer
John Doe, Jointly and Severally

Todd J. Weglarz

Fieger, Fieger, Kenney & Johnson

19390 West Ten Mile Road

Southfield, MI 48075

(248) 355-5555

In The Circuit Court, 15th Judicial Circuit, Palm
Beach County, Florida
Larry A. Brown vs. Richard Wille, Sheriff, Palm
Beach County

J.P. James, Ill

Gray Harris Robinson Lane Trohn

Post Office Box 3

Lakeland, FL 33802-0003

(863) 284-2200

United States District Court, Western District of
Louisiana, Shreveport Division, Civil Action:
CV04-2580-S
Kathleen Marie Eliott, et al, vs. Larry C. Deen, et
al.

Joseph W. Greenwald, Jr.

Greenwald Law Firm, LLC

401 Market Street, Suite 1200

Shreveport, LA 71101

(318) 227-9005
Case 1:07-cv-01205-LG-RHW Document 300-8 Filed 11/13/09 Page 21 of 45

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In the United States District Court, District of
Connecticut, No. 3:05CV1436 (JCH)
Ayfer Kaya, et al. vs. The City of New London,
et al.

Daniel C. DeMerchant

Howd & Ludorf, LLC

65 Wethersfield Avenue

Hartford, CT 06114-1190

(860) 249-1361

In the United States District Court for the
Eastern District of North Carolina, Western
Division, Civil Action 7:03 CV244-FL
Hilarie G. Scarbro, Administratrix of the Estate
of Gary Eugene Rummer vs. New Hanover
County Health Department, et al.

J. Dwight Hudson

Hudson Law Offices

1203 - 48th Avenue North, Suite 111

Myrtle Beach, SC 29577

(843) 692-9889

In the United States District Court for the
Western District of North Carolina, Ashville
Division, Case No. 1:06-CV-00135
Ralph H. Cloaninger v. John T. McDevitt, et al.
Sean F. Perrin
Wombie Carlyle Sandridge & Rice
One Wachovia Center, Suite 3500
301 South College Street
Charlotte, NC 28202-6037
(704) 331-4992

In the Superior Court of the State of Arizona In
and For the County of Maricopa, Case No.
CV2004-004221
Linda Evans, personal representative of the
Estate of Brian Scott Crenshaw, deceased,
Linda Evans and Kim "Ken" Crenshaw, surviving
parents of Brian Scott Crenshaw vs. Maricopa
County, a public entity, et al.

Mark E. Johnson

Stinson, Morrison, Hecker, LLP

1850 North Central Avenue, Suite 2100

Phoenix, AZ 85004-4584

(602) 279-1600

In the United States District Court, Eastern
District of Michigan, Case No. 04-75001
Kelli Bertl, as Personal Representative of the
Estate of Larry Berti v. Renella Thomas, R.N.,
County of Wayne, et al.
Arnold J. Matusz
Fieger, Fieger, Kenney & Johnson
19390 West Ten Mile Road
Southfield, Ml 48075
(248) 355-5555

In the United States District Court for the Middle
District of Florida, Tampa Division, Case No.
8:05 CV 1392 T30TBM
Gerrese Daniels vs. Prison Health Services, Inc.,
Carl J. Keldie, M.D., Sabrina H. Lasker, Barbara
Burke, Monica Hole, and William Balkwill in his
official capacity as Sheriff of Sarasota County
Sheriff's Office

Frederick J. Elbrecht

Deputy County Attorney

1660 Ringling Boulevard, Second Floor

Sarasota, FL 34236

(941) 861-7272

In the United States District Court, Eastern
District of California; Case No. 2:05-CV-02270-
WBS-GGH
Heather Marie Ewing, et al. vs. State of
California, et al.

Monique Alonso

Gross & Belsky, LLP

180 Montgomery Street, Suite 2200

San Francisco, CA 94104

(415) 544-0200

State of Michigan, In the Circuit Court for the
County of Wayne; Case No. 06-613-107 NO
Bobbie Jo Wethington, Personal Representative
for the Estate of Anthony Scott, Deceased, vs.
Detroit Police Officer Rodney Ballinger, Detroit
Police Officer Michael Reizin, in their individual
and official capacities, and the City of Detroit, a
municipal Corporation

Paul Broschay

Fieger, Fieger, Kenney & Johnson

19390 West Ten Mile Road

Southfield, MI 48075-2463

(248) 355-5555
Case 1:07-cv-01205-LG-RHW Document 300-8 Filed 11/13/09 Page 22 of 45

Depositions
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United States District Court, Northern District of
Indiana, South Bend Division, Case No.
3:06CV0697 AS
Estate of Nicholas D. Rice, deceased, et al, vs.
Correctional Medical Services, et al.

Sean W. Drew

Drew Law Office

Post Office Box 880

Niles, Mi 49120

(269) 683-5121

United States District Court, Western District of
Louisiana, Shreveport Division, Civil Action #
11CV05-07955
Rodney Michael Collier, et al. vs. City of Bossier
City, et al.

Fred Sutherland

400 Travis Street, Suite 1103

Shreveport, LA 71101

(318) 226-9001

In the United States District Court for the
Central District of Illinois, Peoria Division, Case
No. 05-1354
Walter R. Legg vs. Steven Agee et al.

Ralph D. Davis

Janssen Law Center

333 Main Street

Peoria, IL 61602

(309) 676-2341

State of Michigan, In the Circuit Court for the

County of Wayne, Case No. 06-613-107 NO

Bobbie Jo Wethington et al. vs. Detroit Police

_ Officer Radney Ballinger, et al.

Paul Broschay

Fieger, Fieger, Kenney, Johnson &
Giroux

19390 West Ten Mile Road

Southfield, Ml 48075

(248) 355-5555

Superior Court of Arizona, Maricopa County,
Case No, CV2004-004221
Linda Evans, personal representative of the

Estate of Brian Scott Crenshaw, deceased, et al.

vs. Maricopa County, et al.
Leslie E. O’Hara
Stinson Morrison Hecker LLP
1850 North Central Avenue, Suite 2100
Phoenix, AZ 85004
(602) 279-1600

In the Court of Common Pleas of Philadelphia
County
Shantell Jones, Individually and as
Administratrix of the Estate of Sumayyah
Makiyah Brown v. City of Philadelphia, et al.
Ezra Wohlgelernter
Feldman, Shepherd, Wohlgelernter,
Tanner, Weinstock
25th Floor, 1845 Walnut Street
Philadelphia, PA 19103
(215) 567-8300

In the United States DistrictCourt forthe
Southern District of Indiana, Indianapolis
Division, Case No. 1:06cv0094-JDT-TAB
The Estate of Terry Gee, Jr., by Special
Administrator, Vera Gee vs. Monroe County
Sheriff, et al.

Sean W. Drew

Drew Law Office

Post Office Box 880

Niles, MI 49120

(269) 683-5121

In the Circuit Court of the 11th Judicial Circuit in
and for Dade County, Florida, General
Jurisdiction Division, Case No. 01-11703-CA-01
Maurice’s Jewelers, Inc., a Florida corporation
vs. Wexler Insurance Agency, Inc., Allstate
Security of Florida, Inc., ARESSCO, Inc.,
Republic Industries, Inc., Scott Alarm and Kertz
Security Systems Securitylink from Ameritech,
Inc., et al.

Miriam R. Merlo

Gaebe, Mullen, Antonelli,

Esco & Dimatteo

420 South Dixie Highway, Third Floor

Coral Gables, FL 33146

(305) 667-0223
Case 1:07-cv-01205-LG-RHW Document 300-8 Filed 11/13/09 Page 23 of 45

W. KEN KATSARIS
Law Enforcement, Corrections
and Private Security
Consultant/Trainer

Addresses:
Post Office Box 12008
Tallahassee, Florida 32317-2008

Or:
110-A South Monroe Street
Tallahassee, FL 32301

(850) 224-2929 Phone
(850) 224-2828 Fax
(850) 309-1074 Fax

CURRICULUM VITAE

EXPERIENCE OVERVIEW .

Began as a City of St. Petersburg, Florida Police Officer/Jail Officer in 1962, has served as a Deputy Sheriff and
State Trooper and elected Sheriff and Chief Law Enforcement Officer of 700 square mile Leon County, Florida,
encompassing Tallahassee (Capital of Florida). Directed the operation of the Leon County Jail including its
medical, inmate, and security programs. Directed a top to bottom physical renovation of the jail which resulted
in community and newspaper editorial praise. Also served as Assistant to Secretary of the Florida Department
of Corrections, assisting in the administration and operation of the nation’s fourth largest prison system.
Currently maintains a Sworn, Active Deputy Sheriff's Commission with the Leon County Sheriff's Office provid-
ing training at the Regional Police and Corrections Academy. Has been an instructor at this Regional Acad-
emy consistenily and currently for over 25 years. Previously served for over 25 years as an adjunct instructor
at the Florida Highway Patrol Academy. Maintains a full-time private consulting position providing training,
litigation consulting, and agency consulting nationally. Has been retained to provide litigation support as an
expert in police, corrections and/or private security policy, procedures, training and supervision for both the
defense and plaintiffs in all 50 states, Guam, Puerto Rico and the District of Columbia, as well as in Canada
and Australia. Served on statewide Private Security Advisory Council for Florida Department of State setting
standards, training requirements, and licensure for the deployment of armed and unarmed private security

officers throughout Florida.

Has provided either Law Enforcement, Jail, Prison or Security Consulting, including Training, to officers both
public and private from all 50 states, including Deputy Sheriffs, Police Officers and Corrections Officers from
several thousand city and county agencies, numerous State Corrections Departments and all 50 State Police
agencies, as well as Officers and Agents from all of the Federal Law Enforcement and Corrections agencies,
(FBI, Border Patrol, DEA, CIA, U.S. Marshals Service, BATF and the U.S, Bureau of Prisons). Through agency
involvement in consulting, training, and litigation, has provided policy development assistance for city, county
and state agencies, both law enforcement and corrections, Has coordinated and taught in seminars spon-
sored by the International Association of Chiefs of Police (ACP). Currently holds the position of Senior
Instructor with AELE and provides instruction on contemporary Police and Jail/Prison Procedures, provided
instruction on the internal affairs investigation process, procedures and legal issues. Also currently is course
director and instructor of AELE’s Critical Incident seminar focusing on SWAT deployment , operations, training

and tactics.

Recognized for his leadership style and achievements as Sheriff by U.S. News & World Report as well as The
New York Times and newspapers nationwide prior to being thrust into the national spotlight while directing the
Theodore Bundy Serial Murder investigation. Directed the Tallahassee investigation that resulted in Ted Bundy’s
imprisonment, and the supervision of the incarceration of Ted Bundy in the county jail for over two years. Bundy
was convicted, sentenced and executed, after the Governor of Florida signed two death warrants, one of which
was for the Tallahassee murders.

Has earned the Associate in Arts (AA) Degree in Police Administration, as well as the Bacheior of Science
(BS) and Master of Science (MS) Degrees in Criminology from Florida State University, and has completed the
academic course requirements toward the Doctorate in Public Administration (DPA) at Nova University, Ft.
Lauderdale, Florida.
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W. KEN KATSARIS
CURRICULUM VITAE
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POLICE ACADEMY TRAINING TAUGHT by w. Ken Katsaris:

INSTRUCTOR: FLORIDA HIGHWAY PATROL ACADEMY, (Recruits and In-Service Retraining
Sessions for Supervisors, Command Officers, Troopers, Communications Officers
and Communications Supervisors) 1968-1997.

Areas of Instruction Provided by W. Ken Katsaris:

Vehicle Pursuit Policy/Procedures.
Emergency Vehicle Operations.

Use of Force and Deadly Force
Investigation Procedures

Crime Scene Processing

Supervision Procedures
Communications Officers Training
Communications Supervisors Training
911 Procedures

Accident Scene Protection

Traffic Homicide investigation

Policy Issues for Command Officers
Preliminary /Follow-up Investigations
Crimes Against Property (Burglary)
Child Abuse/Neglect Investigations
Sexual Assault/Battery Investigations
Vice Crimes Investigations

Traffic Stop Procedures

INSTRUCTOR: LAW ENFORCEMENT ACADEMY, Pat Thomas Criminal Justice Academy,
Six County Area Police Officers, Deputy Sheriffs, Campus Police and State

Officers -- 1968 - present.

Areas of Instruction Provided by W. Ken Katsaris:

Police Ethics

Vehicle Pursuit Policy/Procedures

Driver Skills (at Range)

Instructing Driving Instructors

Emergency Vehicle Operations Policy
(Ambulance and Police)

Firearms Policy/Use of Deadly Force

Deadly Force Decisions

Firearms Shooting Skills (At Range)

Instructing Firearms Instructors

Weapons Carry and Use Law

Arrest, Procedures and Law

Use of Force Policy and Procedures

Criminal Law

Traffic Stop Procedures

High Risk/Vehicle Stops

Hostage and Barricade Response

Crowd Control Procedures/Law

Patrol Hazards, Procedures

Foot Pursuit Procedures

Prisoner Transport

Prisoner Restraint

Mental Illness: Police Procedures

Substance Abuse: Police Procedures

Mental Retardation

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Weapons, Explosives, Weapons of Mass
Destruction (Law)

Warrant Procedures

Probable Cause

Sexual Battery

Assault and Battery

Concepts of Evidence/Evidence Rules

Preliminary /Follow-Up Investigations

Homnicide Investigation Procedures

Stalking Investigations /Law

Missing Children Investigations

Attempts/Conspiracy/Solicitation

Search and Seizure Law/Procedures

Informant Control /Procedures

Emergency Commitment Procedure

Obstruction of Justice

Officer Survival Considerations

Crisis Intervention/Domestic Violence

Recognizing, Approaching and Handling
Emotionally Disturbed Persons

Sexual Harassment/Hostile Work

. Environment

Instructor Techniques: Certification course
for Police Instructors

Gang Recognition/Tactics

INSTRUCTOR: FLORIDA MARINE PATROL ACADEMY
State Officers assigned patrol duties on open ocean water, 1985-1991

® Pursuit Procedure/Policy: Vehicles and Boats

INSTRUCTOR: FLORIDA GAME AND FRESH WATER FISH COMMISSION ACADEMY
e Pursuit Procedure/Policy, Use of Force, 1985-1991
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W. KEN KATSARIS
CURRICULUM VITAE

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NATIONAL POLICE SEMINARS/COURSES TAUGHT by w. Ken Katsaris

INSTRUCTOR: "STREET SURVIVAL" FOR POLICE, CORRECTIONS AND PRIVATE SECURITY

OFFICERS. Seminars throughout the USA sponsored by City, County,
State and Federal Police Agencies. Training seminars in 25 states attended by
over 20,000 officers from all 50 states,thousands of cities and counties, federal
agencies, the Royal Canadian Mounted Police and Canadian Provinces, as well as
hundreds of jail and prison officers and supervisors from county jails and the U.S.
Bureau of Prisons. 1989-1991,

Areas of Instruction Provided by W. Ken Kaisaris:

e Vehicle Pursuits Policy « Internal Investigation Procedures

e Ernergency Response Policy e Recognizing, Approaching and Handling the

« Use of Force Mentally Ill and Emotionally Disturbed

e Prisoner Restraint Person/Inmate

e Prisoner Transporting e High Risk/Risk Unknown Vehicle Stops

« Approach and Arrest e Domestic Violence Intervention

« Impact Weapons » Drug Interdiction Tactics and Procedures

« Chemical Sprays e Procedures used to Investigate Officers

e Compression Asphyxia Conduct Administratively and

e Procedures for Investigating and Criminally, involving Police, Jail and

arresting members of Satanic Cults Prison Officers
and Street Gang members e Handcuffing Tactics
e Defensive Tactics for Arrest and Control e Single and | Multiple Officer Patrol Tactics

“INSTRUCTOR AND SEMINAR COORDINATOR: IACP

IACP: International Association of Chiefs of Police. Management of the
investigative Function: Investigation of Serial Murders (Specialty developed as
result of directing the Theodore Bundy Murders, Tallahassee, Florida).

Attended by Investigation Commanders from throughout the USA. 1984-1986 in
Nashville, Tennessee and Tampa, Florida.

INSTRUCTOR: AELE: Americans for Effective Law Enforcement, Senior [nstructor for national

seminars. The attendees are primarily police governmental defense attorneys
and law enforcement managers and commanders. 1992 - present.

AELE is a non-profit organization providing educational, legal and other
professional services and assistance to. the nations law enforcement and
corrections agencies, and files Amicus Briefs in cases involving law
enforcement and corrections issues.

POLICE CIVIL LIABILITY SEMINAR (AELE) 1992-Present

Areas of Instruction Provided by W. Ken Katsaris: (Senior Instructor)
in Custody Deaths from Restraining Methods /Issues
Restraint/Transporting Methods/Issues
in-Custody Injuries (Handcuffs, Chemicals, K-9, Batons, Physical Farce) Suicides.
Police Pursuits (Tactics, Policies, Procedures, Investigations)
Emergency Response Procedures /Policy
Use of Force (Deadly-Non-Deadly) Training, Decision Making, Weapons, Tactics, Batons,
Handcuffs, Chemical, Restraints, K-9, Electronic Restraints (Taser, Stun Gun)
Less Lethal Munitions/Applications and Issues
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W. KEN KATSARIS
CURRICULUM VITAE
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NATIONAL POLICE SEMINARS/COURSES TAUGHT by W. Ken Katsaris (continued)

RACE AND THE POLICE SEMINAR (AELE) 2001-Present

Areas of instruction Provided by W. Ken Katsaris: (Senior Instructor)
Racial Profiling Claims and Definitions
Police Detention and Inquiry
Police Communications Issues (Radio/MDT’s)
Race Identification Issues
Police Vehicle Stops/Searches
Use of K-9’'s at Stops
Probable Cause vs. Reasonable Suspicion vs. Racial Profiling
Use of Expert Witnesses for Plaintiff and Defense
Complaint Processing

CRITICAL INCIDENT RESPONSE: MANAGEMENT AND LEGAL LIABILITY SEMINAR
(AELE) 2002 - Present

Areas of instruction and Course Development Provided by W. Ken Katsaris
(Course Director and Senior Instructor)
Course Director Role
Development of Course Topics
Overall Direction of Training Issues
Review of Course Outlines and [Instructors
Monitoring of Course Presentation
Facilitation Between Presenters and Attendees

Areas of Instruction

High Risk Entries Preparation, Surveillance, Assignments and Equipment Use
High Risk Warrant Service vs. High Risk Response to known Violent Subjects
Responding to the Mentally ll and the Substance Abuser

Responding to the Suicidal/Suicide by Cop

Responding to the Active Shooter

Use of K-9’s Policy and Procedure

Affects of Critical Incident on Officers

Reaction Time/Suspect Movements, and Shot Placement

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EMPLOYEE DISCIPLINE AND LABOR SEMINAR (AELE). 1996-1998

Areas of instruction Provided by W. Ken Katsaris:

e Organization/Administration of Internal e Outside Employment

Affairs Unit e Search and Monitoring Procedures/Policy
e Interviews/Interrogations of « Progressive Discipline

Accused /Implicated Officers « Conducting Internal Investigations

e Off-Duty Activities
LAW MEDIA INSTRUCTOR (AELE} 2001-Present (Distributed nationally)

CD Rom Training Programs Instructed by W. Ken Katsaris

e Officer Safety at Traffic Stops e Miranda for Patrol Officers

e Strip Searches by Police e Interrogation Law: Special Situations

e Shooting Mistakes and Qualified « Interrogation Law: Reinterrogation and Trickery
immunity

Interrogation Law for Patrol Officers
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W. KEN KATSARIS
CURRICULUM VITAE
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POLICE/LAW ENFORCEMENT EXPERIENCE

FULL TIME POLICE EXPERIENCE

@ St. Petersburg Police Department, St. Petersburg, Florida Police Department, 1962-1966.

Uniform Patrol investigations
e Preliminary Investigations Evidence Collection, Identification, Preservation

* Traffic Accident Investigation Crime Scene Investigation and Processing
e Reconstruction Specialist Crime Scene Photography

e Riot and SWAT Team Member Latent Fingerprint Examiner

Prisoner Transportation Unit

Mobile Crime Unit Technician

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®@ Sheriff of Leon County, Tallahassee, Florida, January 1977 - January 1981.
Sheriff and Chief Law Enforcement Officer of Leon County encompassing almost 700 square
miles, including the Florida Capital City of Tallahassee. The Sheriff is also the Chief
Correctional Officer and administers the Leon County Detention Facility.

« Drafted Manual of Policies and Procedures for Law Enforcement Operations
e Drafted Manual of Policies and Procedures for Jalil Operations

As Sheriff of Leon County, Personally Developed, Implemented, or restructured and Supervised:

Law Enforcement Programs

e Crime Prevention Program (Malls, *« Personnel Unit (Background Investigations,
Apartment Complexes, Oral and Written Boards)
Neighborhoods, Businesses, Schools, Communications/Dispatch Center

e

Banks, Hotels) ® 911 Center
e Narcotics Investigations » Civil Process
e Helicopters/Fixed Wing Aircraft « Warrant Service: Fugitive/High Risk
e K-9 Unit Teams/Training « Investigations
« Tactical Unit (SWAT) © Court Security
e Patrol Division e Internal Investigations
e Traffic Control /investigations e Crime Scene Processing
e Major Crime Task Force « Intelligence (Street and Motorcycle Gangs
e Juvenile Crimes Investigations and Organized Crime Activity)
e Firearms Range e Citizen Firearm Training

@ City of Tallahassee Police Officer, Florida, 1975-1977 (part-time classification, full-time hours)

® Traffic Control e Arrest Prisoner Transport
e Traffic Accident Investigation e Patrol

e Domestic Intervention a e Preliminary Investigation of Crimes
PART-TIME EXPERIENCE

@ Leon County Deputy Sheriff, 1997 - present.
Part-time Sworn Deputy Sheriff providing Patrol, Field Training Evaluation and Recruit Training.
(involvement while maintaining full-time commitment to Regional and National Training and
Consulting.)
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W. KEN KATSARIS
CURRICULUM VITAE
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POLICE/LAW ENFORCEMENT EXPERIENCE (continued)

@ Florida Highway Patrol Trooper, 1992 - 1997.
Part-time Sworn uniformed State Trooper with primary responsibilities as advisor to Director (Col.B.R.
Burkett) and Academy Instructor. (See Areas of instruction, Page Two) (Services provided while
maintaining full-time commitment to Regional/National Training/Consulting.)

@ Florida Highway Patrol Policy Advisor, 1981-1993.
Policy Advisor to Director B.R. Burkett. Policy development and review for Pursuits, Firearms, Use of
Force, Batons, Disciplinary Procedures and Review, Internal Affairs.
Also review of all police involved shootings by State Troopers, advise Col. B.R.Burkett of liability issues

and training implications.

@ Crime Lab Director and Technician, Tallahassee Community College, 1967 - 1977 (as requested).
Utilized Criminal Justice Program Teaching Crime Lab on Campus to provide services to City Police
for Preliminary Criminal Evidence Processing and Evaluation

« Firearms Evidence e Lie Detection

e Bullet Trajectory Evaluation e Crime Scene Reconstruction
» Gunshot Residue Collection e Photography

* Blood Splatter Evaluation » Drug Identification

e Fingerprints

CORRECTIONS/JAIL/PRISON EXPERIENCE

@ St. Petersburg City Jail, Jail Officer, (assigned from Police Patrol), 1964-1966. Screening,
Classification, Booking, Transportation, Custody.

® Certified, JAIL AND PRISON MANAGEMENT, Florida Department of Corrections, 1977.
Certification through National institute of Corrections. —

@ Leon County Jail Administrator, as Sheriff Supervised Jail Director and all Personnel, drafted and
implemented Policies and Procedures, renovated and modernized the physical plant and periodically
worked the floors and transported high-risk prisoners. 1977-1981.

Jail Programs Developed_and Implemented

e Booking and Classification Procedures « Religious
e Medical Screening e Searching
e Medical Unit (Doctor, Nurses, Facility) * Custody and Security
e Recreation e Suicide Intervention/Prevention
« Visitation e Work Release
e

Emergency Procedures (Escape, Riot, Fire)

@ Florida Department of Corrections, Assistant to Secretary of Corrections
Full time Employment 1981-82. The Department of Corrections oversees all facets of prison
management and inmate programs as well as probation and parole and provides, by law, inspections
of all 67 county jails. (Over 25,000 inmates in 80 institutions and over 70,000 on Probation and Parole
Supervision in 1982).
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W. KEN KATSARIS
CURRICULUM VITAE
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CORRECTIONS/JAIL/PRISON EXPERIENCE (continued)

@ Florida Department of Corrections Assignments

Assisted the Secretary of the Florida DOC in:

e Administrative Decision Making e Jail and Prison Training Curriculum
e Policy Determination e Review of Jail Inspectors Investigations on Jail
e Institutional Troubleshooting Suicides from all Jails in state
e Inmate Grievances « Standards for State Prisons and Jails
_@ Statewide Jail Procedure and Rules e Accreditation Standards
e Liaison to Governor's Office on Jail and e Liaison to Criminal Justice Standards and

Prison Matters Training Commission
« Liaison to all Sheriffs on Jail Procedures Review of Injury Reports and Unusual
Occurrences in County Jails

@ COMMISSIONER, State of Florida, Correctional Standards Council, 1977-1981.
Appointed by Governor Askew and reappointed by Governor Graham. Seven Member Policy
Board for all Standards for ail Correctional Officers, City, County, State. 1977-1981.

e Standards for Correctional Officer e Training Programs for all Correctional Officers
Selection (State and County)
e Standards for Correctional Officer e Training Curriculum Development for

Retention Correctional Officer Training and Retraining
e Facilities and Institution Standards

@ CONSULTANT, FLORIDA CRIMINAL JUSTICE STANDARDS AND TRAINING COMMISSION,

1981-1982.
Development of 320-hour basic training program for state and local Correctional Officers.

Member of Committee.

@ INSTRUCTOR: Corrections Academy, Pat Thomas Criminal Justice Academy, 1983-1995 and
2000-Present.

Areas of Instruction Provided by W. Ken Katsaris:

e Classification of Offenses e Constitutional Law
e Suicide Prevention/Intervention @ Civi and Criminal Liability
e Inmate Rights e Elements of Crimes
e Officer Rights/Responsibilities e Cell Searches
e Crisis intervention e Classification and Cell Assignment
e Use of Force e Restraining and Transporting Prisoners
e Emergency Procedures Including: e Hostage Negotiation
Fire, Riot, Escape, Bomb Threat e How to Survive Being a Hostage
e inmate Movement e Bribery/Perjury

@ INSTRUCTOR: AELE: Americans for Effective Law Enforcement, 1987-Present.
Chicago, Iilinois. Senior Instructor for national seminars. The attendees are
primarily corrections governmental defense attorneys and state and county
corrections managers, commanders, and officers.

AELE is a non-profit organization providing educational, legal and other
professional services and assistance to the nations law enforcement and
corrections agencies.
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W. KEN KATSARIS
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CORRECTIONS/JAIL/PRISON EXPERIENCE (continued)

JAIL AND PRISONER LEGAL ISSUES SEMINAR AELE 1993-Present
Areas of Instruction Provided by W. Ken Katsaris: (Senior instructor)

e In Custody Deaths and Injuries e Staff Use of Force/Investigation
e Suicides: Prevention, {ntervention, Restraint Issues/Application

Warning Signs, Cell Design Prisoner Transportation/Movement
National Standards Staff Training Needs/Assessment
Theories of Liability Staff Allocation/Staffing
Failure to Protect Staffing Direct/Indirect Supervision
Cell Extractions Special Housing Issues

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@ INSTRUCTOR: U.S. Bureau of Prisons, 1968-1969.
Federal Correctional Institution, Tallahassee, Florida. Staff Development Training.
Correctional Policy and Procedure, Custody and Security.

@ INSTRUCTOR: U.S. Bureau of Prisons, 1968-1969.
Federal Correctional Institution, Tallahassee, Florida. Inmate Education in Criminal!

. Justice.
PRIVATE SECURITY EXPERIENCE

@ Private Security Advisory Council, PSAC, Florida Department of State, Member, 1987-1990.
Advised Secretary of State on all Licensing and Training Matters relating to Private Employment of
Security Guards and the Licensing and Training of Private Investigators. Chairman of Firearms License
Committee. Assisted in writing the training manual for Private Security Guards for the State of Florida.

@ Campus Security Director, Tallahassee Community College, 1968-1977.
Hired, trained and supervised full-time force of Security Officers providing campus-wide security, traffic
control, crime prevention and crime investigation for 3000 member student body campus as part of
duties of Criminal Justice Program Chairman.

@ Private Security Services: As Sheriff of Leon County, Florida, 1977-1981.
Under Contract to Apartment Complexes, Hotels/Motels, Shopping Malls and Banks. Provided and
trained off duty Deputies for private security under contract to private entities. Both uniformed guard
and plain clothes assignments were carried out. Deputies paid directly by private entity. Authority
from Sheriff, supervised by Sheriff.

@ Private Security Consulting: As Sheriff of Lean County, Florida, 1977-1981.
On-site Crime Surveys, Evaluations, and Presentations on Security Needs to Management of Hotels,
Campuses, Liquor Licensees, Shopping Centers and Apartment Complexes.

@ Private Security Officer: St. Petersburg, Florida, 1964-1968,
Off-duty, armed private security for campus, shopping center and special assignment activities as St.
Petersburg, Florida Police Officer.

@ Litigation Consulting for Plaintiffs and Defense, 1982-Present.
Review of Premises, Evaluation of Procedures and Policy and Testifying on Premises Liability Issues
in Hotel, Apartment, Shopping Center, Campus Cases.

@ Certified, Security of Convenience Stores, Inspector, February, 1994.
Attorney General's Office, Florida Crime Prevention Institute. 40-Hour Certification Course.
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PRIVATE SECURITY EXPERIENCE (continued)

@ Certified, Commercial Security, July, 1994.
Attorney General's Office, Florida Crime Prevention Institute. 40-Hour Certification Course for Security

of Apartments, Businesses, Shopping Centers, Parking Lots, Hotels and Motels.

EDUCATION

@ Post Masters Studies, Nova University, Fort Lauderdale, FL. Public Administration, 1982.
Completed a five year course of study. (Classroom courses listed below).

® Master of Science Degree in Criminology, Florida State University, Tallahassee, FL, 1971.

Master Thesis Topic: An Exploratory Study of Police Recruit Training as Mandated by the
Florida Police Standards Act 1967. Internship completed in college teaching of police and

corrections subjects. {Classroom courses listed below)

@ Bachelor of Science Degree in Criminology, Florida State University, Tallahassee, FL 1967.
Dual Major in Law Enforcement Procedures/Management and Jail and Prison
Procedures/Management. (Classroom courses listed below)

@ Associate of Arts Degree in Police Administration, St. Petersburg Florida Junior College, 1965.
Associate in Arts Degree with General Education Certification added, 1966. (Classroom
courses listed below)

ACADEMIC TEACHING EXPERIENCE

@ Chairman/Instructor, Criminal Justice Program, Tallahassee Community College (Administered both
Law Enforcement and Corrections Programs with approximately three hundred students and staff of
both part-time and full-time instructors.) 1967-1977

Developed, Implemented, Supervised and Taught In:

Academic Programs . Police Training Center Programs
e AA Degree in Law Enforcement e Certificate in Police Supervision
» AA Degree in Corrections e Certificate in Police Mid-Management

» Certificate in Executive Development

@ Adjunct Lecturer, Graduate and Undergraduate Criminal Justice Courses, School of Social Work,
Florida State University, 1972 - 1973.

@ Adjunct Professor, School of Criminology, Florida State University, 1975-1980. (Corrections and Law
Enforcement Courses).
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ACADEMIC COURSEWORK TAKEN

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(St. Petersburg Junior College and Florida State University).

LAW ENFORCEMENT COURSES

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Police Organization and Administration
introduction to Law Enforcement
Criminal Interrogation

Police Patrol Procedures

Criminal Investigation

Development of Law Enforcement and
Corrections

Police Defensive Tactics

CORRECTIONS COURSES

Legal and Court Procedures

Treating Juvenile Delinquency
Criminology and Corrections

Social Control

Programs in Crime and Delinquency
Probation, Pardon and Parole
Correctional Custody

Seminar in Corrections

Corrections Internship

Juvenile Court Philosophy and Procedures

SOCIAL/ PSYCHOLOGICAL COURSES

General Psychology

Marriage and Family Relations
Introduction to Sociology
Adolescent Development
Understanding Human Behavior |
Understanding Human Behavior Il

Police Field Procedures
Criminal Law

Criminalistics

Police Problems and Practices
International Crime Control
Theory of Law Enforcement
Public and Private Security
Theories of Criminology

Development of Corrections and Law
Enforcement

e International Criminology
e Special Problems in Criminology and

Corrections

e Survey of the Corrections Field

Theory and Concepts in Criminology and
Corrections
Seminar in Social Action

Nature, Man and God

Social Research

Sociology and Education
Introduction to Social Group Work
Essentials of Interviewing

Methods of Social Research

MANAGEMENT COURSES: Post Masters Studies, Public Administration (Nova University)

Ideas and Images: The American Political
Process

interests and Instruments of Power: Policy-

Making in America

The Administrator in a Pluralistic Setting:
Management Leadership

Protective Functions: Problems and Issues

in Maintaining a Just and Peaceful Domestic

Social Order

Environmental and Economic Functions:
Problems and Issues In Employment,
Energy, and Ecology

Social and Human Service Functions:
Problems and Issues of Education, Health,
Housing, Welfare, and Civil Rights
Management Information Systems:
Quantitative Designs

Staffing and Personnel Management

Measurement of Program Outputs: Techniques
for Analyzing Data

Measurement of Program Consequences:
Problems of Collecting Data

Organization and Management Principles
Group Dynamics and Interpersonal Relations
Administrative Responsibility and Ethics: The
Nature of Conflicting Demands

e Authority, Power, and Administrative Law

Funding and Finance Administration: Sources
of Revenue

e Governing and Decision Making Processes
e Problem and Conflict Resolution

Dynamics of the System of Pluralism: The
Administrator and the Various Sub-Systems
Research program Formulation
Developmental Program Formulation

e Research and Development Evaluation
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ACADEMIC COURSES TAUGHT by vw. Ken Katsaris

Tallahassee Community College and Florida State University (1967-1988)

e Introduction to Law Enforcement e Seminar: Private Security
e Criminology e Seminar: Jail Policy and Procedure
e Criminal Investigation e Seminar: Jail and Prison Standards and
e Criminal Investigation Laboratory Accreditation
e Criminalistics e Seminar: Investigation of the Police Use of
e [ntroductory Criminalistics Laboratory Force
e Advanced Criminalistics Laboratory e Juvenile Delinquency and Youth Programs
e Criminal Law ¢ Seminar: Corrections Law and Liability
e Criminal Procedures e Seminar: Blood Splatter Evidence
e Police Organization and Management e Seminar: Firearms Evidence and Ballistics
e Police Community Relations & Crime e Jail/Prison Design: inmate/Staff Issues
Prevention
CERTIFICATIONS

elnstructor Certified, CMS General Instructor, Specialized Teaching Techniques for Scenario Based
Instruction to Police and Corrections Officers. Pat Thomas Criminal Justice Academy, Tallahassee,
FL, August 2002.

elnstructor Certified, Lateral Vascular Neck Restraint System (LVNR) National Law Enforcement Training
Center, Kansas City, MO (Jim Lindell, President) 2000.

elnstructor Certified, Taser Electronic [mmobilization Weapon, Tasertron, 1999, Policy, Procedure, After
Care.

elnstructor Certified, Human Diversity Instructor, Florida Criminal Justice Standards and Training
Commission, August, 1995. Sexual Harassment, Hostile Work Environment, Race and Gender Issues,
Preparation to Instruct Corrections and Law Enforcement Personnel.

elnstructor Re-Certification, Emergency and Pursuit Driving, 24 Hours. Pat Thomas Criminal Justice
Training Academy, November 2000.

elnstructor, Certified, Firearms Instructor, Florida Criminal Justice Standards and Training Commission,
1992.

elnstructor Certified, Pursuit Driving, (Emergency Vehicle Operation), Techniques and Policy, Florida
Criminal Justice Standards and Training Commission, 1987.

elnstructor Certified, Psycho-Motor Skill Design Instructor (Defensive Tactics and Physical Training
Techniques), 1991. international Association of Police Trainers.

elnstructor Certified, Orcutt Police Nunchaku Instructor Certification to Instruct in Use of Police
Nunchaku's, (Instructed by Kevin Orcutt) 1991.

einstructor Certified Law Enforcement and Medical Restraint System, RIPP Restraints, Course for
Instructing the Methods of Restraining Prisoners and Emotionally Disturbed Persons, 1991.

Instructor Certified, Advanced Hostage/Barricaded Subject Negotiations, 1992. Institute of Police

Technology Management. 40 Hour course of study with additional supervised practical exercises.
einstructor Certified, Legal Certification to teach Legal Problems, Practices, Applications of Law and Civil
Liability Issues. Florida Criminal Justice Standards and Training Commission, 1991.

elnstructor Certified, Law Enforcement Executive Trainer, Florida Commission on Police Standards and
Training, 1976.

elnstructor Certified Executive Development Trainer, Florida Police Standards and Training Commission.
Certified to Teach Management Level Courses to Police Chiefs, Sheriffs and Command Officers.

1972.

Instructor Certified, Criminal Justice Trainer: General Certificate, Florida Criminal Justice Standards and
Training Commission. (Expires July, 2003). Certified to Teach all Police and Corrections Courses at
the Academy Level. Since 1968 with re-certifications as required.

elnstructor Certified, Technical Intelligence Operations: Workshop on methods of Wiretaps, Bugaing,
and Other Communications Intercept as well as Countertactics. Jarvis International Intelligence, 1989.

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CERTIFICATIONS (continued)

einstructor Certified, Police Internal Affairs: Institute of Police Technology and Management. 40 Hours,
September, 1996.

eCertified, Human Diversity, Basic Certification, Florida Criminal Justice Standards and Training
Commission, 1995.

eCertified First Responder, Basic EMT Wound, Injury and Illness Assessment, Pat Thomas Regional
Police Academy, 1992. °

«Certified, Chemical Restraint, OC, Florida Highway Patrol Academy, 1994.

Certified, Handgun and Long-gun Weapon Retention Techniques, National Law Enforcement Training
Center (NLETC) Dave Grossi, instructor, 1991. -

«Certified, Application of Physical Empty Hand Control! Technique for Retention of Sidearm or Long-gun
in Holstered or Drawn Disarming Situations, National Law Enforcement Training Center, (NLETC),
Dave Grossi, Instructor, 1991.

eCertified, PR 24 Defensive Police Baton, 1987, Florida Highway Patrol.

eCertified, The Monadnock Straight Baton, 1991.

eCertified, Counter Assault Systems Expandable Baton, 1990.

eCertified, Practical Hostage /Barricaded Subject Negotiations, 1992. Institute of Police Technology

Management. 40 Hour course of Study including practical exercises.

«Certified, Jail and Prison Management, Department of Corrections, State of Florida, 1977. Certification
through National Institute of Corrections.

eCertified, Techniques of Applications of Cap Stun Chemical Agent for Police and Corrections Use.

Certified, Peace Officer Training, Department of Education, State of Florida, 1967-1968. (#CO38930).

Certified, Junior College Teaching, Department of Education, State of Florida, 1971-1981. (#C042851).

eCertified, Advanced Homicide Investigation, American Society of Clinical Pathologists. 40-hour
Certification Course. Determination of Method and Instrumentality of Death, Firearms Evidence,
Trajectory and Wounds, 1978.

«Certified, injury and Death Determination, Advanced Homicide Investigations Techniques Certificate,
American Association of Forensic Pathologists, 1979.

eCertified, The Management of Police Use of Force, 1984. International Association of Chiefs of Police.
A forty hour certification course on all phases of Police Use of Force and Deadly Force.

Certified, Security of Convenience Stores, Inspector. Attorney General, State of Florida, Florida Crime
Prevention Institute, February, 1994.

Certified Commercial Security, Florida Crime Prevention Training Institute, Attorney General’s Office.
40-Hour Certification Course for Security of Apartments, Businesses, Shopping Centers, Parking
Lots,Hotels and Motels. July, 1994.

Certified, Realistic Assailant Control,(Defensive Tactics and Subject Control. Calibre Press. Homestead
Air Force Base, U.S. Customs, 1989. Intensive 3-day “Hands On" Instruction Teaching Active Counter
Measures and Control Techniques for Prisoner Apprehension, Movement and Control, Pressure Point
Control Tactics.

Certified Police Officer, Florida Police Standards and Training Commission, 1975. Recertification to
continue as Commissioned Police Officer.

eRecertified as Police Officer, State of Florida, Commission on Criminal Justice Standards and Training.
May, 1993. Certificate # 137855.

eCertified, CPR (Cardiopulmonary Resuscitation). Florida Highway Patrol. Recertified 1993.

eCertified, Law Enforcement Procedures and Management, Florida State. University School of
Criminology, 1967.

eCertified, Examiner Psychological Stress Evaluation (PSE), 1974. Application of the Use of the Voice in
Determining Truth or Deception.

eCertified, Audio Surveillance and Counter Measures, Ross Engineering, 1988.

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TRAINING COURSES TAKEN

eMobile Crime Unit Deployment, equipment operation, maintenance and use for major crime scene
processing, evidence collection and testing, St. Petersburg Police Department, 1962.

eCrime Scene Processing, St. Petersburg Police Department Staff School, 1962. Fingerprints, tire and
foot impressions, blood analysis.

Fingerprint Processing and Classification, St. Petersburg Police Department Staff School, 1962. Latent
Fingerprint Development and Comparison Techniques.

eCrime Scene and Laboratory Photography Techniques, St. Petersburg Police Department Staff School,
1962.

«Firearms Evidence;collection, processing and analyzing at scene ballistics and trajectory evidence.
Neutron activation analysis preparation and testing for handgun and long gun firing evidence. St.
Petersburg Police Department, 1963.

eBlood and Body Fluid Collection, Identification and Preservation, Blood Splatter Evidence interpretation;
St. Petersburg Police Department Staff School, 1963.

Police Recruit Academy, St. Petersburg Police Recruit School #12. Consisted of 360 hours of basic
instruction in all phases of potice work, 1964.

*Police Firearms Instruction, National Rifle Association, May, 1964.

eCrowd and Riot Control School, St. Petersburg Police Department. Riots, Building Entry, Hostage
Negotiations and Swat Tactics, 1965.

«Traffic Accident Investigation, St. Petersburg Police Department, 1965, Skid mark determination, point
of impact, reconstruction.

eTeaching Criminology Internship, Florida State University, Tallahassee, Florida, 1971.

Police Instructor Seminar, Police Standards and Training Commission, 1971. Certification to Teach
Police, Jail and Prison instructors.

«Police Officer Certification, State of Florida, 1975. Lewis Lively Police Academy, Tallahassee, FL. 80-
Hour Training Program for comparative compliance covering pursuit and emergency vehicle
response, first responder, firearms, use of force, use of deadly force, baton and handcuffing, arrest
procedures.

eSheriffs Management Seminar, Florida Sheriffs Association, 1977. An intense study on all phases of law
enforcement and jail policy and procedure.

ePolice Administration in Florida: The Future, Florida Police Standards and Training Commission, 1977.
An evaluation of the future directions for police management, setting of standards and law
enforcement accreditation.

eManaging Criminal Investigations, International Association of Chiefs of Police, 1978.

elmplementation of Jail Standards, National Institute of Corrections Jail Center, Marion County, Florida,
1980.

eThe Police Executive Institute, sponsored by the Police Foundation and the Law Enforcement
Assistance Administration, Dallas, TX, September, 1980.

eThe Executive and Police Operations, Police Executive Institute, 1980. (Use of Force, Less than Lethal
Methods, Crime Prevention) San Diego, CA.

eManagement Stress Training, Miami, Florida. Experience Compression Laboratory, Jerome Barnum
and Associates, 1981.

#Power and Morality Seminar, Florida State University Humanities Institute, 1981. An evaluation of the
use of power by legislative and executive bodies.

eHealth Care and the Suicidal Inmate, Prison Health Services, 1984. An intense study of the problems of
the delivery of health care to inmates in county jails and prisons as well as a review of the problem of
suicide. Emphasis on suicide prevention by identification of the potential suicidal! inmate.

eJail and Prisoner Legal issues, Americans for Effective Law Enforcement, 1986. A review of all of the
areas of civil liability in the Jail and Prison setting. Discipline, injuries, deaths, employment.

elssues in Jail Management -- Major issues facing managers of small and large jails. 1987, Clearwater,
Florida, American Jail Association.

eWomen’s Issues In Corrections. Issues relating to both men and women working in corrections. 1987,
Clearwater, Florida, American Jail Association.

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TRAINING COURSES TAKEN (continued)

eSuicide Prevention: How to Identify The Potential Suicidal Inmate. 1987, Clearwater, Florida, American
Jail Association.

«Emergency Response Teams (SWAT) Recruitment, Training and Deployment. 1987, Clearwater, Florida,

American Jail Association.

eDiminished Police Liability Through Implementation of Ethics, Florida Police Chiefs Association
Conference, 1987.

eTraining Programs for Line Officers: Implementing Local Training Opportunities, American Correctional
Association, 1987.
eYour Local Jail: Innovative Concepts for Handling Unique Problems, American Correctional Association,

1987.

eUsing Standards and Accreditation to Your Advantage, American Correctional Association, 1987.

eSecurity: Developing A Safe, Humane Institution, American Correctional Association, 1987.

eStreet Survival for Police Officers, Calibre Press, Newport R.I. 1989. Intense 3-day seminar on Use of
Force, Deadly Force, Pursuits, Satanic Cults, Police Liability and Trial Tactics, Defensive Tactics and
Arrest Procedures.

Realistic Assailant Control, Calibre Press. Homestead Air Force Base, U.S. Customs, 1989. Intensive 3-
day “Hands On* Instruction Teaching Active Counter Measures and Control Techniques for Prisoner
Apprehension, Movement and Control,

eEdged Weapons Attacks, Video self-study presentation titled “Surviving Edged Weapons,” Calibre Press,
85-minute detailed analysis and tactical training for Police Officers Defense When any type of edged
weapon is confronted, 1989.

eTransporting, Searching and Restraining Prisoners, U.S. Marshals Office, Training provided at U.S.
Forestry Seminar, Spokane, Washington, March, 1991.

eSurviving One Person Patrol, U.S. Forest Service, Spokane, Washington, 1991.

ePursuit Driving and Liability Concerns, International Association of Chiefs of Police, Minneapolis, MN,
1991.

eLaw Enforcement Juvenile Issues, International Association of Chiefs of Police, Minneapolis, MN, 19971.

eCauses and Prevention of Excessive Use of Force, International Association of Chiefs of Police,
Minneapolis, MN, 1991.

eThe Americans With Disabilities Act and the Fair Labor Standards Act. International Association of
Chiefs of Police, Minneapolis, MN, 1991.

«Jail and Prisoner Legal Issues, AELE (Americans for Effective Law Enforcement), 24-Hour course of
Instruction covering Classification, Use of Force, Suicide Intervention/Prevention, Medical Care,
Prisoner Rights; Course for Attorneys and Jail and Prison Commanders from throughout the USA.
New Orleans, LA, 1992.

«Discipline and Labor Problems, AELE (Americans for Effective Law Enforcement), 24-Hour Course of
Instruction covering Labor and Union Relations; Personnel Records; Hiring Practices including
complete selection procedures; Discipline Practices; Americans with Disability Act Procedures; Sexual
Harassment; Employment Discrimination; Drug and Substance Abuse, Orlando, March, 1992.

ePolice Civil Liability, AELE (Americans for Effective Law Enforcement) 24-Hour course of instruction
covering issues of Use of Force, High Risk Procedures (Pursuit, Emergency Response, Firearms, Use
of Deadly Force), Preparation and Defense of USC 42, 1983, Liability Claims. Las Vegas, September,
1992.

Police Use of Excessive Force: A National Perspective. International Association of Chiefs of Police,
Detroit, Mi, October, 1992.

eUnauthorized Force: Who’s Watching. International Association of Chiefs of Police, Detroit, MI,
October, 1992.

eLegal Aspects of Use of Force Training. International Association of Chiefs of Police, Detroit, MI,
October, 1992.

eBloodborne Pathogens: (Hepatitis B) Epidemiology, Symptoms, Transmission, Prevention, Protective
Equipment, Overall Policy. Florida Highway Patrol Academy, 1993.

ePolice Auto Pursuit: Liability, Policy, Procedures. International Association of Chiefs of Police, St. Louis,
Missouri, October 1993.

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TRAINING COURSES TAKEN (continued)

eUse of Force Continuum: Applications for Training Use of Force. International Association of Chiefs of
Police, St. Louis, Missouri, October, 1993.

«Convenience Store Security. Attorney General, State of Florida, Florida Crime Prevention Institute,
February, 1994. Certification Course for Security of Convenience Stores.

«Constitutional Law Issues, Recent Supreme Court Decisions and Significant Federal Cases.
International Association of Chiefs of Police, St. Louis, Missouri, October, 1993.

eDefense and Management of Critical Liabllity Issues in Law Enforcement Agencies. AELE, San
Francisco CA, May, 1992. 3-Day Seminar covering 1983 Litigation and Defenses, Use of Force,
Expert Witnesses, Failure to Protect, Risk Management, Investigation of Use of Force Claims, High
Speed Pursuit Policy and Procedure, Officer Discipline, internal Affairs.

eReducing Excessive Force. International Association of Chlefs of Police, St. Louis, Missouri, October,
1993.

eHealth Issues for the Police Officer. AIDS, Hepatitis, Blood Borne Pathogens. Policies, procedures,
tactics, contamination, handling of evidence and persons. Florida Highway Patrol Academy, 1993.

elnvestigation and Prosecution of Environmental Crimes for Industry and Law Enforcement. The
American Society for Industrial Security, November, 1994, Crystal River, Florida.

eJail and Prisoner Legal Issues Seminar, AELE (Americans for Effective Law Enforcement) 3-Day
Seminar covering Inmate Discipline, Inmate Privacy, Suicides, Medical Care,
Psychiatric/Psychological Services, Inmate Rights, Use of Force, Duty to Protect, Classification and
Housing, Accreditation and National Standards, Las Vegas, NV, January, 1994.

eCommercial Security, Florida Crime Prevention Training Institute, Attorney General's Office. 40-Hour
Certification Course for Security of Apartments, Businesses, Shopping Centers, Parking Lots, Hotels
and Motels. July, 1994.

eHuman Diversity Retraining for All Certified Police Officers. Lively Criminal Justice Academy, April,
1995. Legal and practices update on sexual harassment and hostile work environment issues and
minority relations.

Police Discipline and Labor Problems Seminar, AELE, Las Vegas, NV, 24-Hour Course of Instruction
covering Labor and Union Relations; Personnel Records; Hiring Practices including complete
selection procedures; Discipline Practices; Americans with Disability Act Procedures: Sexual
Harassment; Employment Discrimination; Drug and Substance Abuse, November, 1995.

eMental Aikido, (verbal Judo). Pat Thomas Regional Police Academy, 8 Hours, 1996.

«Domestic Incidents: Responding when an officer is involved. International Association of Chiefs of
Police, Orlando, 1997.

eLess Lethal Projectiles and De-Escalation, International Association of Chiefs of Police, Orlando, 1997.

eLaw Enforcement Preparations and Operations for Major Special Events, International Association of
Chiefs of Police, Orlando, 1997.

«Domestic Violence Response: The Response to and Handling of Domestic Violence Incidents by Law
Enforcement Officers, Pat Thomas Regional Police Academy, 1997.

eUse of Force Principles, American Society of Law Enforcement Trainers, using tactics of vanishing,
adapting, tracing to improve ability to survive a deadly assault, Mobile, AL, January, 1998.

«Electronic Immobilization Devices, American Society of Law Enforcement Trainers, Analysis of the
proper use of EID's compared to other common defensive weapons; Taser, Stun Gun, Stun belts,
January, 1998.

«Changing The Police Pursuit Paradigm, American Society of Law Enforcement Trainers, Revision of
Pursuit Training Patterns with emphasis on pursuit initiation guidelines via a proactive decision-making
process, Mobile, AL, January, 1998.

eManagement of Mentally Ill Persons in Corrections, American Society of Law Enforcement Trainers,
identifying and coping with mentally ill inmates by providing a safe environment, January, 1998.

«Sudden Deaths in Police Custody, American Society of Law Enforcement Trainers, Examining critical
concerns of restraint related issues of sudden death and risk management strategies, Mobile, AL,
January, 1998.

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TRAINING COURSES TAKEN (continued)

«Positional Asphyxia, American Society of Law Enforcement Trainers, Practical criteria and procedures to
minimize injury to arrestees. Clarification of misconceptions, and latest research surrounding lung
function, arterial blood oxygen levels and restraint positioning, Mobile, AL, January, 1998.

eSwat Liability, American Society of Law Enforcement Trainers, Tactical Team deployment and training
policies; high risk warrant service and report writing after an incident, Mobile, AL, January, 1998.

eExperiencing and Investigating Police Shootings, American Society of Law Enforcement Trainers,
Recognizing perceptual and cognitive distortions and understanding these distortions and their impact
on officers and witnesses memories, Mobile, AL, January, 1998.

eHealing Fractures, Florida State University, School of Criminology. Two-day seminar focusing on Police
Race Related Misconduct Issues and the subsequent Internal Investigation Requirements. Racial

- Profiling issues, Police Stops and Searches. October, 1998.

eTraining Injuries: Strategies for Reduction and updates on contemporary cases. American Society of
Law Enforcement Trainers, Albuquerque, NM, January, 1999.

«Force and Control Risk Management. Applying Fundamentals of Risk Control to the Relationship
Between Officer Safety and Liability as it Relates to the Management of Force. American Society of
Law Enforcement Trainers, Albuquerque, NM, 1999.

eThe Lateral Vascular Neck Restraint (LVNR). Hands on instruction for familiarization, training methods,
applications, use of force, options. American Society of Law Enforcement Trainers, Albuquerque, NM,
1999.

elntegrated Force Management. Awareness of the value of an integrated approach toward force
management. American Society of Law Enforcement Trainers, Albuquerque, NM, 1999.

«Race in Law Enforcement -- Traffic Stops and Beyond. International Association of Chiefs of Potice,
Charlotte, NC, 1999.

*School Safety: Innovative Strategies from Lessons Learned. International Association of Chiefs of
Police, Charlotte, NC, 1999.

«Schoo! Violence Prevention: A Psychological and Law Enforcement Perspective. international
Association of Chiefs of Police, Charlotte, NC, 1999.

eProfessional Traffic Stops. Race and the Police Response During Traffic Stops and/or Vehicle
Searches. International Association of Chiefs of Police, Charlotte, NC, 1999.

ePreventing School Violence. Dissecting the Columbine High School Shootings and Applying the
Lessons Learned. Quinlan Publishers, Atlanta, GA, 1999.

eTraining The Most Challenged Shooters. The Difference Between Male and Female Shooters. American
Society of Law Enforcement Trainers Richmond, VA, 2000.

eHandcuffing: Make Your Handcuffing Technique Werk. Hands on application of handcuffs considering
various techniques and issues. American Society of Law Enforcement Trainers. Richmond, VA 2000.

eEstablishing a Protocol for Major Use of Force Investigations. American Society of Law Enforcement
Trainers, Richmond, VA, 2000.

eManaging High Risk Law Enforcement Activity. American Society of Law Enforcement Trainers,
Richmond, VA, 2000.

elnstinctively Predicting Assaultive Behavior, Physical and Verbal Cues. American Society of Law
Enforcement Trainers, Richmond, VA 2000.

eAnalyzing Patterns of Subject Resistance During Arrest. Analysis of subject, officer, and arrest factors
with types of resistance encountered. American Society of Law Enforcement Trainers, Richmond, VA,
2000.

e0.C. Spray and "Positional Asphyxia:" Separating Fact from Fiction. By Dr. Ted. Chan. International
Association of Chiefs of Police, San Diego, CA, 2000.

eDilemma of Domestic Violence by Police Officers. Recognition, Intervention, Prevention. International
Association of Chiefs of Police, San Diego, CA, 2000.

eNon Violent Crisis Intervention. Management of Disruptive, Assaultive, and Out of Control Behavior.
Hospital and School Settings. Crisis Prevention Institute, New Orleans, LA, October, 2001.

«The Juvenile Sexual Offender. Recognition, Intervention, Prevention. Requirement for Certified
Police/Corrections Officers. Daytona Beach Community College, Daytona Beach, FL, May, 2001.

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TRAINING COURSES TAKEN (continued)

eHuman Cultural Diversity. Avoiding Sexual Harassment/Hostile Work Environment Issues Considering
Gender and Race. Requirement of Certified Police/Corrections Officers. Daytona Beach Community
College, Daytona Beach, FL, May, 2001.

eDomestic Violence. Prevention, Intervention, Referral, Restraint Orders. Requirement of Certified
Police/Corrections Officers, Daytona Beach Community College, Daytona Beach, FL, May, 2001.

eSafe and Leqgal Traffic Stops. Procedures to avoid complaints of race bias claims. Proper and safe
methods of approaching and talking to stopped pedestrians, drivers of vehicles, and passengers.
identification, stop analysis, and statistical comparisons. Institute of Police Technology and
Management, University of North Florida, Jacksonville, FL, May, 2001.

eBiased Based Policing. Investigation of Complaints of Racial Discrimination. International Association
of Chiefs of Police, Toronto, Canada, October, 2001.

«Developing and Implementing Training Programs for Responding to the Mentally Hl. Police
Psychological Services, International Association of Chiefs of Police, Toronto, Canada, October, 2001.

eR ing Police Use of Deadly Earce through Proactive Management and Strategic Planning.
International Association of Chiefs of Police, Toronto, Canada, October, 2001.

eDeadly Force Encounters: A Study of the Biological/Psychological Issues Affecting The Body and Mind
During High Stress Encounters, Dr. Alexis Artwohl, Anchorage, AK, January, 2002.

Critical Incident Stress: Recognition and Remediation. Anchorage, AK, January, 2002.

Kinetic Energy Projectiles, Death, and Serious Injury. Targeting strategies, pre-incident planning, proper
selection of ammunition and weapons. Matt Bloodgood, Anchorage Police Department Officer,
Anchorage, AK, January, 2002.

eCritical Incident Response for Patrol Officers, Armed Hostage Takings, Ramdom Shootings, Actions of
Responding Officers: Principles, guidelines, tactical situations, Sgt. Anthony C. Henry, Anchorage
Police Department, Anchorage, AK, January, 2002.

eThe Trainers Role in Lethal and Major Force Investigations, Michael P. Stone, General Counsel and
Muna Busailah, Assistant General Counsel, Riverside California Sheriff's Association, Anchorage, AK,
2002.

«Fitness for Duty Evaluations: Medical and Psychological Practices and Pre-Employment Issues,
International Association of Chiefs of Police, Minneapolis, MN, 2002.

ePre-Employment Psycholgical Screening: International Association of Chiefs of Police, Minneapolis,
MN, 2002.

eSuicide Prevention: Los Angeles County Sheriffs Department Program, International Association of
Chiefs of Police, Minneapolis, MN, 2002.

#Preventing Violence Against Women: A Showcase of Campus Initiatives, International Association of
Chiefs of Police, Minneapolis, MN, 2002.

eTargeted School Violence, International Association of Chiefs of Police, Minneapolis, MN, 2002.

eWorkplace Violence: Coping in the Aftermath of identifying Potential Intervention Strategies, Dr. Alexis
Artwohl, International Association of Chiefs of Police, Minneapolis, MN, 2002.

el.ess Lethal Force Options, Major Steve Ijames, International Association of Chiefs of Police,
Minneapolis, MN, 2002.

eOrganized Retail Crime, Target Corporation, International Association of Chiefs of Police, Minneapolis,
MN, 2002.

ePhysical and Psychological Aspects of Police Shootings, International Association of Chiefs of Police,

' Minneapolis, MN, 2002.

eTerrorism and Drug Trafficking: A National Security Issue, International Association of Chiefs of Police,
Minneapolis, MN, 2002.

«Blueprint to Combating Terrorism, International Association of Chiefs of Police, Minneapolis, MN, 2002.

eThe Use of Less Lethal Force: Legal issues and Liability, American Society of Law Enforcement
Trainers, Ontario, CF 2002.

Positional Asphyxia and Sudden Custody Deaths, Dr. Ted Chan, American Society of Law Enforcement
Trainers, Ontario, CF 2002.

eSubject Movement in Shooting Situations, Dr. William J. Lewinski, American Society of Law
Enforcement Trainers, Ontario, CF 2002.

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TRAINING PROGRAMS TAUGHT: NATIONWIDE

(in addition to the Police and Corrections Academy Instruction listed earlier)

eFlorida State University, 1967. Instructor, Delinquency Control Institute. Instruction to officers from
throughout U.S. assigned the investigation and counseling of troubled youth.

eUniversity of Georgia, 1969-1978. Institute of Government, Police Science Division: Homicide, Burglary and
Crime Scene Instruction to Police Specialists and Executives from throughout the United States.

Florida Police Standards Commission, 1971-1976. Executive Development Instructor for Police Managers
throughout Florida as part of the Executive Development Program.

eFlorida Police Standards Commission, 1972-1976. Selected as one of four persons in the State to
coordinate and supervise the offering of Management Training for Police Executives in an on-going
Executive Development Program.

eUniversity of Georgia, 1972-1976, Institute of Government, Police Science Division: Personnel and
Evaluation Instructor for Police Personnel Specialist throughout U.S.A.

eMiami Police Department, 1974. Management Training for ail Command Personnel (Sergeant through
Assistant Chief level). Completed over a three-month period.

«Biscayne College, Miami, Florida, 1974. Management Training for Police Executives from throughout the
United States.

«Florida Institute for Law Enforcement_St. Petersburg, Florida, 1974. Advanced Homicide Investigation
Techniques. Police Management Training for Police Executives from throughout the United States.
eSupreme Court, State of Florida, 1978. Developed and directed a movie production to illustrate the process

of justice from arrest to trial.

«Florida State University. School of Criminology, Southern Conference on Corrections, 1967-1987.
Participant, lecturer and seminar leader for varied discussions and analysis of the Criminal Justice
System, 1967-1990.

eFlorida Highway Patrol, 1971-1981. Instructor for all phases of criminal investigation, crime scene
processing, homicide and law for all recruit classes, selected executive and in-service seminars.

Georgia Police Chiefs Association, 1979. Role of the Police Chief in Policy Formulation for Major Crime
Squads.

#Florida Highway Patrol, 1981-1982. Correctional Philosophy Instructor, Recruit Training.

eUniversity of South Florida, Department_of Criminal Justice, 1979-1980. instructor, Injury and Death
investigation Course for national participants who are specialists in the area of homicide investigations.

State Attorney's Office, Palm Beach County, Florida, 1981. "Sex Crimes Investigations,” workshop on sex,
crime and children.

eCairo Police Department, Cairo, Georgia, 1986. High Speed Pursuit Policy and Emergency Vehicle
Operations. Legal Aspects of Police Use of Deadly Force. Excessive Force in Arrest Situations.

’ ePolice Liability: Firearms, Vehicles and Equipment, Florida Highway Patrol Auxiliary Annual Training
Seminar, Longboat Key, Florida, 19886.

eCollier County (Naples, Florida) Sheriff's Department (Southwest Florida Law Enforcement Training
Academy) Police Organization: The Major Crime Task Force

ePursuit Driving Policy and Procedure, Florida Highway Patrol Auxiliary, Tallahassee, 1988.

eHillsborough County Sheriffs Department, (Tampa, FL). Hostage Negotiations and Procedures for Dealing
with Barricaded Subjects, 1988.

eVolusia County Sheriffs Department, Provide training to 15 City Agencies and Volusia Sheriffs Office on
Pursuit Policy and Procedure, 1989.

«Florida A&M University, Campus Police Procedures and Legal Liability. May, 1995. Program taught to all
members of Campus Police Force.

eNew Hampshire Municipal Association, Death and Injuries from Use of Force. Concord, NH. November,
1994. Eight hour course for all New Hampshire Police Chiefs, Commanders, Directors of Training,
Agency Attorneys and Internal Affairs Investigators. Instruction included methods of restraint, use of
handcuffs, flashlights, batons, electronic and chemical restraints and tactics for subject control.

eVirginia State Police: "Pursuit and Emergency Driving Procedures and Policies.“ Presentation to the State
and Provincial Police Academy Directors representing each State Police Academy in the U.S.A.
Williamsburg, VA, June 1995,

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TRAINING PROGRAMS TAUGHT: NATIONWIDE (continued)

eHonolulu Police Department, Supervisory Training, Honolulu, Hawaii, 1997. Training on Use of Force,
Pursuits and Emergency Response for over 400 Supervisors including the Administrative Review Board,
Command Staff and Chief of Police.

eGeorgia Association of Chiefs of Police. “Developing Community Relationships through Proper Policy and
Procedure.” Use of Force, Less Lethal Munitions and Weapons, Police Pursuits. Savannah, GA, July,
1998.

CONSULTANCY, COMMITTEE AND TASK FORCE INVOLVEMENT

eFlorida Police Standards Commission, 1971. Formulation of Executive Development Programs for Police
Executives.
eHarper and Row Publishers, 1971. "Police: The Human Dimension". A film series for training police officers
throughout the United States.
“Police and the Community"
"Police Use of Authority"
"Police Ethics"
“Police and Minorities”
"Police Stress"
«Florida Police Standards Commission, 1972. Development of 280- hour police training program for all police
officers in Florida. Member of Committee.
eFlorida Board of Regents, 1972-1974. Social Work Education Project, Curriculum Advisory Committee.
eFlorida Board of Regents, 1972-1974. Juvenile Delinquency Project-Advisory Committee.
eJohn Wiley Publishers, 1973. Development of Criminal Justice Texts for Colleges and Universities.
«Fiorida Police Standards Commission, 1974. Development of 320-hour police training program for all police
officers in Florida. Member of Commitiee.
#Qcala Police Department, Ocala, Florida, 1974. Training needs assessment.
eTallahassee Police Department. Tallahassee, Florida, Patrol Procedures/Deployment.
eTallahassee Police Department, Tallahassee, Florida, 1974-1976. Retained to construct, administer and
grade promotional examinations for all ranks; also to chair Oral Board Examinations and coordinate the
grading for all Oral Board Examinees.
eFlorida Department of Education, 1974-1976. Criminal Justice Common Course Numbering Task Force.
eJuvenile Justice and Delinquency Task Force, 1978-1983. Appointed by Governors Askew and Graham
to Task Force to consider innovative approaches for working with troubled and criminal youth.
eNorthwest Florida Criminal Justice Advisory Council, 1977-1981. Appointed by Governor Askew to
membership on Council. Reappointed to Council by Governor Graham in 1979.
eFlorida Corrections Standards Council, 1977-1981. Appointed by Governor Askew as Commissioner.
Reappointed by Governor Graham.
eState of Florida, Human Rights Advocacy Committee for Mental Retardation, 1978-1982.
Pinellas County Sheriff's Department, 1981. Chairman, Oral Board Examinations for the positions of
Correctional Sergeant and Lieutenant, Pinellas County Jail, Clearwater, Florida.
Florida Criminal Justice Standards and Training Commission, 1981-1982. Development of 320-hour basic
training program for state and local Correctional Officers. Member of Committee.
eGovernor's Oifice, State of Florida, Florida 2000: Creative Crime Control -- 1982. Governor’s Appointment
to Governor’s Challenge Program.
eApalachee Community Mental Health, Inc., 1983-1986. Properties Board. (Vice President 1985-87).
Community mental health issues and concerns involving the alcoholic, mental and sexual offender.
eCairo Police Department, Cairo, Georgia, 1986. Development of Policy and Procedure Manual and
Management Review.
eColumbus Georgia Police Department, 1987. Assessor for promotion to rank of Sergeant, Lieutenant and
Captain.
eFlorida Highway Patrol, Appointed to Statewide Policy Committee to Review and Update all FHP Policies
and Procedures, 1988.

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CONSULTANCY, COMMITTEE AND TASK FORCE INVOLVEMENT (continued)

Volusia County Sheriffs Department, Retained to Develop and Implement a County-Wide Pursuit Policy to
be Used by all 15 Police Agencies within the County when Pursuits Cross Jurisdictional Boundaries.
eCity of Perry Florida, Review of Management, Policies and Procedures of Perry Police Department for
Recommended Changes, 1989.

ePrivate Security Advisory Council, Florida Department of State, Review of Firearms Policies Throughout U.S.
and Development of Training Program and Manual on Firearms Use and Civil Liability for Use of Deadly
Force, 1987-1990.

«Florida Highway Patrol, review of all police involved shootings by State Troopers occurring prior to 1981
for training implications. 1985.

Florida Department of Corrections, Member, Probation and Restitution Center Advisory Committee Member,
1991-1996.

eVolusia County Sheriffs Office, retained to develop policy for training and deployment of Department K-9
units, 1993.

eFlorida Highway Patrol, Review and Advise Director and Command Staff on Policy and Use of Chemical
Restraining Spray (OC) in Department Certification Training, 1996.

ePinellas Park Florida Police Department, Vehicle Stops and Subject Extraction in High Risk Stops, 1996.

eApalachee Center for Human Services, Security Survey and on-going consultancy on Hospital Security for
Receiving Patients under Florida’s Emergency Commitment Act, 1996-Present.

eHonolulu Police Department, Honolulu, Hawaii: 1997. Policy Review and Revision on Procedures for
Pursuit and Use of Force, including Police Batons, Chemical Sprays, and Emergency Response.

eKansas City, Missouri Police Department. Evatuation and Analysis of Police Vehicle Accidents, Driver
-Training, Pursuit Driving Policy and Procedure, Emergency Driving Policy and Procedure, and Non-
emergency Driving Practices. October 1998 - May 1999.

eLos Anaeles County Sheriff's Office. Review of Mens Central Jail Facility. Physical facilities, inmate
relations, staff deployment, medical and recreation access, treatment of the special confinement
prisoners, January 2000 - Present. (Chief County Counsel Kevin Brazile)

PUBLICATIONS, PRESENTATIONS, PAPERS
eCrime Scene Investigators Handbook. Guide developed for St. Petersburg Police Crime Scene Unit, St.
Petersburg, Florida, 1963.
«Corrections Education in the U.S. and Canada. Tallahassee Community College Press, 1969.
«The Dilemma of Jail Suicide." Paper presented to Lambda Alpha Epsilon (LAE) National Law Enforcement
Fraternity, Tallahassee Community College, 1970.

eAn Exploratory Study of Police Recruit Training in Florida as Mandated by the Police Standards Act_of
1967. Unpublished Masters Thesis, Florida State University, 1971.

eCollege Courses and Programs Applicable Toward State Salary Incentive Program. Florida Police
Standards and Training Commission, 1972.
eStatewide Mandatory 280-Hour Police Recruit Training Program (Nine participants), 1972.
e"Current Trends in Corrections and Law Enforcement Education." Paper presented at the 1972 Annual
Conference of the North Carolina Department of Community Colleges.
e"Deployment of Legal Advisors in Criminal Justice Agencies." Paper presented at the Florida State
University Law School, 1972.
"Police Performance Evaluation." Paper presented at National Police Supervision Workshop, University of
Georgia, Police Science Division, November 20, 1974.
eEvidence and Procedure in the Administration of Justice. New York, John Wiley Publishers, 1975.
Textbook used in over 25 states and 100 colleges for teaching Police and Correctional Officers the legal
aspects of evidence.
e"Bank Robbery Prevention and Hostage Procedures." Presentation to Capital City Bank Group,
Tallahassee, Florida, 1977.
e"Bank Robbery Prevention and Hostage Procedures." Presentation to Flagship Banks, Tallahassee, Florida,

1977.
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PUBLICATIONS, PRESENTATIONS, PAPERS (continued)

eSecurity Analysis, Review and Training." Presentation to Tallahassee Mall Merchants Association,
Tallahassee, Florida, 1978. Northwood Mall Merchants Association, Tallahassee, Florida, 1979. Over 50
small businesses, 1977-1980.

e“Building and Perimeter Security." Evaluation and presentation to Anheuser-Busch, Inc., Chenoweth
Distributors, Tallahassee, Florida 1978.

e*Building and Visitor Protection and Security." Presentation to Capitol Security Force, State of Florida,
1978.

e"Construction Site Security Procedures." Presentation to Tallahassee Builders Association, Tallahassee,
Florida, 1979.

e"Home Security and Personal Protection,” Presentation to Killearn Homeowners Association, Miccosukee
Homeowners Association, Woodville Men’s Club, Lafayette Homeowners Association, Tallahassee, Florida,
1978-1980.

*Policy and Procedures Manual for Deputy Sheriffs, Leon County, Tallahassee, Florida, Sheriffs Department,
Tallahassee, Florida, 1978.

ePolicy and Procedures Manual for Correctional Officers, Leon County Sheriffs Department, Tallahassee,
Florida, County Jail, 1978.

eCrime Prevention Brochures, Leon County, Tallahassee, Florida, Sheriffs Department, 1979.

e “Home Security"

“Operation tdentification"

"Apartment Security”

"Vacation Tips"

"Home Fire Safety"

“Babysitting Safety Tips"

eStatewide Mandatory 320-Hour Training Program for Police Recruits, one of 10 participants that decided
the content and skills training subjects for recruits, 1981.

e’Mental Health and Local Public Policy," Florida Council for Mental health, Inc., Seminar for Local
Government, 1981,

eStatewide Mandatory 320-Hour Training Program for Correctional Officers,one of twelve participants that
decided the content and skills training subjects for recruits, 1982.

e"Police and Jail Practices and Procedures," The Ghio Academy of Trial Lawyers, 1985. Presented at
Cincinnati, Ohio, Columbus, Ohio, Avon Lake, Ohio.

ePolicy and Procedures Manual, Cairo Police Department, Cairo, Georgia, 1986.

- "The Impact of Litigation of Managerial Reform: The Corrections Case." 31st Annual Southern Conference
on Corrections, 1986. Presentation to National Participants.

e"The Humane Jail that Meets the Standards.“ 31st Annual Southern Conference on Corrections, 1986.
Presentation to National Participants.

e"The American Corrections Association's Policy Initiatives." (Discussant). 32nd Annual Southern
Conference on Corrections, 1987. Presentation to National Participants.

e“Jail Suicide Prevention/Intervention.” Southern Conference on Corrections, 1989. Presentation to National
Participants.

e"Development and Use of Expert Witnesses," presented to the Private Investigators association of Florida,
Orlando, 1991.

«Police Pursuit: Governmental Liability for Pursuits and: Pursuit Related Accidents. South Carolina Trial
Lawyers Association, Annual Auto Torts Seminar, Atlanta, GA, December, 1992.

ePolice Use of Force and Police Pursuit [ssues, Procedures, Investigation of Event. National Association
of Legal Investigators, Atlanta, GA, April 1997.

eCivil Claims of Police Use of Force. National Association of Legal Investigators, New Orleans, LA,
September, 1997.

Police Policy and Procedures for Pursuit and Use of Force, National Assoctation of Legal Investigators,
Detroit, Mi, 1997.

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HONORS

eSelected as Criminal Justice Educator of the Year, State of Florida, by the Florida Criminal Justice
Educators Association, 1976.

eSelected as Outstanding Young Man of Florida by Florida Jaycees, 1977.

eSelected as Outstanding Young Man of Tallahassee by Tallahassee Jaycees, 1977.

eRecognized by the President of Tallahassee Community College for ten consecutive years of service and
employment, and innovations in the teaching of police and corrections courses.

eRecognized as the first Sheriff to instruct Florida Highway Patrol! recruits at the Florida Highway Patrol
Academy, 1977.

eRecognized by Temple Baptist Church as Outstanding Law Enforcement Officer of the Year on Law Day,
1977.

eRecognized by U.S, News and World Report, in article “Our Frontier-Style Sheriffs Are Vanishing.” One of
three Sheriffs recognized from the U.S.,.March 5, 1979.

eRecognized by The New York Times, in Article titled “He’s Still in Charge, But The Southern Sheriff i is
Changing,” July 6, 1978.

eRecognized as Law Enforcement Administrator of the Year for the State of Florida by the Florida Frontier
Club, 1980.

eRecognized by Governor Graham as Volunteer and for Outstanding Service to Clients and Programs of the
Department of HRS, State of Florida, 1980-1981.

eSelected by Florida Council on Crime and Delinquency, Tallahassee Chapter, as nominee for Law
Enforcement administrator of the Year Award, State of Florida, 1980.

eAppointed Kentucky Colonel, 1980.

PROFESSIONAL MEMBERSHIPS

eFlorida Sheriff's Association, Vice Chairman, Legislative Committee, 1977-1981.

einternational Association of Chiefs of Police. Member, 1968-Present. Education and Training Committee,
1968-1978.

eNational Academy of Police Specialists, 1982-1990. Elected Vice President, 1984. Elected President, 1986.

eNational Sheriff's Association (Life Member).

«Florida Association of Police Chiefs. Member, 1968-Present. Education and Training Committee, 1968-
1980.

eNorth Florida Association of Police Chiefs, 1970-1972.

eFlorida Association of Criminal Justice Educators, 1969-Present. Founder of Association, 1969. President,
1972-1973, 1973-1974. Board of Directors, 1974-1975. recognized as Educator of the Year, 1976.

eLambda Alpha Epsilon, Professional Criminal Justice Fraternity. Faculty Advisor, 1970-1972.

eSoutheastern Association of Criminal Justice Educators, 1972-1977.

Florida Association of Community Colleges, 1967-1977.

eFlorida Council on Crime and Delinquency, 1971-1982, 1991-present.

elnternational Association of Auto Theft Investigators Membership #302, 1977-1980.

eNational Association for Crime Prevention Practitioners (NCPI), 1978. (Founding Member)

eFlorida Network of Victim/Witness Services, 1981-1982.

_ eAmerican Correctional Association, Present.

eNorth American Association of Wardens and Superintendents, Present.

elnternational Association of Correctional Officers, Present.

eAmerican Jail Association, Present.

eAmerican Society for industrial Security, Present.

eFiorida Jail Association, 1992 - Present.

einternational Narcotic Enforcement Officers Association, Present.

eLegal Officers Section, International Association of Chiefs of Police, Present.

eCampus Police Section, International Association of Chiefs of Police, Present.

eNational Criminal Justice Association, 1993-Present.

elnternational Narcotic Officers Association, 1993-Present.

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PROFESSIONAL MEMBERSHIPS (continued)

eNational Association of Chiefs of Police, 1992-1995.
eAmerican Society of Law Enforcernent Trainers, Present.

COMMUNITY INVOLVEMENT

Capital City Lions Club, 1975.

eTallahassee Lions Club, 1975-1981.

eBoy Scouts of America, Scouting Coordinator, 1977-1981.

eTallahassee Jaycees, 1977-1982.

eCapital City Jaycees, 1976-1981.

eTallahassee Area Chamber of Commerce, 1978-1990.

eTallahassee Torch Club, 1974-1981.

eApalachee Community Mental Health Association Services, Inc., Board of Directors, 1976-1980.

eApalachee Center for Human Services, Board of Directors, 1992 - Present. Chairman of the Board, 1997-
1998.

eTiger Bay Club of Tallahassee, 1974-Present.

eAmerican Cancer Society, Board of Directors, 1975-1981.

«Springtime Tallahassee, 1974-1984.

*Florida State University Theatre Patron, 1978-1980.

eQuarterback Club of Tallahassee, 1977-1979.

«Tallahassee Urban League, 1978-1981.

Seminole Football Booster, 1968-Present.

eApalachee Community Mental Health Services Properties Board, 1981-Present. Elected Vice President,
1984.

eAdvisory Board for WFSU-TV (Public Broadcasting System), 1977-1986.

eUnited Way Fund Chairman, Leon County Employees, 1979.

eFlorida Sheriff's Youth Fund, Corp., 1977-1980.

eCancer Fund Drive Chairman, Leon County Employees, 1978.

eGovernor’s Club of Florida, 1981-Present (Founding Member}.

eNumerous speaking engagements before civic and professional organizations as well as television and
radio presentations on areas of community and state concerns, 1967-Present.

eLeon County Democratic Executive Committee, 1976-1980.

eApalachee Community Mental Health Services Properties Board, President, 1994-1995.
